Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 1 of 94

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- “THE MIDDLE DISTRICT OF ALABAMA 7
NORTHERN DIVISION

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GAY LESBIAN BISEXUAL
ALLIANCE," ot

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Plaintiff,
vs.
JIMMY EVANS, in his official
Capacity as Attorney General

of the State of Alabama;
et al., etc.,

Defendants.

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CASE NUMBER
CV-93-T-1178-N

 

DEFENDANTS' JOINT PRE-TRIAL BRIEF AND
MEMORANDUM OF AUTHORITIES ON THE MERITS
AND DEFENDANTS PROVISIONAL JOINT MOTION FOR
LEAVE OF COURT TO FILE SUPPLEMENTAL BRIEF

 

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Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 2 of 94

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2 *
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 3 of 94

TABLE OF CONTENTS

 

Table of Cases and Authorities... ccc cea e ee cee eeae iv
Introduction to Brief... cc cece ee eee ec enee ae 1
Preliminary Statement... .. ce. c ccc s nnn c neers ceeeee 5
Procedural and Factual HisStory.......ce ee caenereves 8
Introduction to Argument........ cee een eres so eee 33
Argument

I. THE PLAINTIFF'S ARGUMENT(S) WITH
RESPECT TO STRICT APPLICATION OF
FREE EXPRESSION AND FREE
ASSOCIATION PRINCIPLES TO TEST THE
CONSTITUTIONALITY OF LEGISLATION
IN THE UNIVERSITY ENVIRONMENT ARE
SPECIOUS BECAUSE, GENERALLY, THE
STATE IS UNDER NO OBLIGATION TO
FUND THE EXERCISE OF
CONSTITUTIONAL RIGHTS..........-. sees 36

II. BECAUSE SODOMY AND SEXUAL
MISCONDUCT ARE NOT ACTIVITIES THAT
FALL WITHIN THE PROTECTION OF THE
FIRST AMENDMENT, THE STATUTE IN
QUESTION DOES NOT HAVE TO BE
JUSTIFIED BY A COMPELLING
GOVERNMENTAL INTEREST........ seen eens 40

III. THE STATUTE IN QUESTION IS A
VIEWPOINT NEUTRAL MEANS FOR
ENSURING THAT GOVERNMENT FUNDS AND
GOVERNMENT FACILITIES ARE USED
ONLY FOR THE PURPOSES FOR WHICH
THEY WERE GRANTED... 1. cece e een nce rvrcece 45
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 4 of 94

Iv.

VI.

TABLE OF CONTENTS
(continued)

 

THE STATUTE IN QUESTION CLEARLY
SEEKS TO REGULATE CONDUCT WHICH IS
INCIDENTAL TO SPEECH AND IT DOES
NOT FORBID THE COMMUNICATION OF
SPECIFIC IDEAS... eee eee een r ar nee on

A. CONGUCL.. 2. reece ncaa aaesaaee anes

B. Content...... een eeeene see eae .

THE STATUTE IN QUESTION IS A
REASONABLE REGULATION PROMULGATED
BY THE STATE OF ALABAMA UNDER ITS
POLICE POWER FOR THE PROTECTION OF
THE PUBLIC HEALTH, SAFETY, AND
MORALS... 2c eee een eee seen eeceene

A. §16-1-28, Code of Alabama
1975, is Not Overbroad and
Does Not Bar a Broad Range of
Speech at a Particular
Location or Under a
Particular Circumstance......

B. §16-1-28, Code of Alabama
1975, is Not Void for
Vagueness Because it Gives
Reasonable Notice as to What
is Prohibited and is Clear as
to What Speech is
Prohibited... .. ccc eee ee ees

Cc. §16-1-28, Code of Alabama
1975, Does Not Give State
Officials Broad and
Unfettered Discretion for
Applying the Law and Contains
Defined, Fixed, and
Ascertainable Standards for
It's Application..........05.

NOT ALL REGULATION OF SYMBOLIC
CONDUCT WHICH IS UNDERTAKEN AS
PART OF VERBAL COMMUNICATION, SUCH
AS THAT PROSCRIBED BY THE STATUTE
IN QUESTION, IS PROHIBITED BY THE
UNITED STATES CONSTITUTION........

ii

see woe

PAGE(S)

52
54

55

65

65

66

67

69
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 5 of 94

TABLE OF CONTENTS
(continued)

 

VII. THE STATUTE IN QUESTION DOES NOT
CONSTITUTE A PRIOR RESTRAINT;
HOWEVER, IN THE ALTERNATIVE, IF
THE COURT DOES SO CONSTRUE THE
STATUTE, THEN IT CAN STILL SUSTAIN
THE STATUTE BECAUSE IT IS NARROWLY
TAILORED TO ACHIEVE A COMPELLING
AND SIGNIFICANT GOVERNMENTAL
INTEREST . cca ere eee meee ewer eee e eae aaae

VIII. THE STATUTE IN QUESTION DOES NOT
CONSTITUTE AN INFRINGEMENT UPON
FREEDOM OF ASSOCIATION AND BELIEF;
HOWEVER, IN THE ALTERNATIVE, IF
THE COURT DOES SO CONSTRUE THE
STATUTE, THEN IT CAN STILL SUSTAIN
THE STATUTE AS SERVING A
COMPELLING STATE INTEREST BECAUSE
THE RIGHT TO ASSOCIATE FOR
EXPRESSIVE PURPOSES IS NOT
ABSOLUTE UNDER THE UNITED STATES
CONSTITUTION... ce eee ene ee wee eee eee

IX. DEFENDANTS' RESPONSE TO AUTHORITIES
CITED IN TEXT OF PLAINTIFF'S BRIEF
ON THE MERITS. 2. ccc c ccc ccc cece eee n ac aaae ‘

CONCLUSION... cease ears ssrraserarresersseseseseeas

Provisional Joint Motion for Leave
of Court to File Supplemental Brief.............

Certificate of Service... crc ene ene nnnanane seas eees

Index to EXNHIDitS. ccc rere e eres ese eeees see eee sep pean

iii

PAGE(S)

71

74

76

77

81
83
84
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94

TABLE OF CASES AND AUTHORITIES

 

Arkansas Writers Project, Inc.
v. Ragland,
481 U.S. 221, 234,
107 S.Ct. 1722, 1730,

 

95 L.Ed.2d 209 (1987)...sceeeeee senses seueee

Auburn University v. The Auburn Gay
and Lesbian Association,
Civil Action No. 92-D-374-E,
U.S. District Court for the

 

Middle District of Alabama.........0ceeeeeee

Bantam Books v. Sullivan,
372 U.S. 58, 83 §.ct. 631,

 

9 L.Ed.2d 584 (1963).. sce cec cece cee ceecneces

Barnes v. Glen Theatres, Inc.,
501 U.S.,; at ___. ¥
115 L.Ed.2d 504, 111 S.Ct. 2456

(Souter, J., concurring in judgment)........

Bethel School Dist. No. 403 v. Fraser,
106 S.Ct. 3159, 478 U.S. 675,

92 L.Ed.2d 549 (1986)....... seem eee ence enns

Board of Airport Commissioners v.
Jews for Jesus,

 

482 U.S. 569 (1987) .ccsccceecucceuvcuece Leeee

Board of Directors of Rotary Club
International v. Rotary Club of Duarte,

 

481 U.S. 537 (1987) ee eeeheeeeea ee ee ee)

Bowers v. Hardwick,

106 S.Ct. 2841 (1986)..... cece eee cee cee

Buckley v. Valeo,
424 U.S. 1, 96 S.Ct. 612,

46 L.Ed.2d 659 (1976) aeapaaaaaa ee? @ @ @ @ eo eee eer ee

iv

Page 6 of 94

PAGE(S)

46, 50

13

71

61, 62,
69

37, 38,
39

65

74

40, 42,

54

48
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 7 of 94

TABLE OF CASES AND AUTHORITIES
(continued)

 

Calash v. City of Bridgeport,
788 F.2d 80 (2d Cir. 1986)........e00.00. tee

Cammarano v. United States,
358 U.S. 498, 513,
79 S.Ct. 524, 533,
3 L.Ed.2d 462 (1969)).......c cc aeae sean e eens

Chaplinsky v. New Hampshire,
315 U.S. 568, 62 S.Ct. 766,
86 L.Ed. 1031 (1942)..... eee eee eee esas sae

 

City of Lakewood v. Plain Dealer
Publishing Co.,
486 U.S. 750 (1988)... ccc cece ee eee eee eee

 

Clark v. Community for Creative Nonviolence,
486 U.S. 288 (1984)..... 2.2... ccc ccc cc cease anne

Consolidated Edison Co.,
447 U.S., at 536,
65 L.Ed.2d 319, 100 S.Ct. 2326........050000.

Cornelius v. NAACP Legal Defense
and Education Fund,
473 U.S. 788, 105 S.ct. 3439,
3448, 87 L.Ed.2d S67 (1985)......2 cc cca nnaaae

Dallas v. Stranqlin,
490 U.S. 19 (1989)... ccc ccc ce ee wee eens

Ex Parte Weaver,
570 So.2d 675 (Ala. 1990)............ shee wees

FCC v. League of Women Voters of California,
468 U.S. 364, 383-384,
82 L.Ed.2d 278,
104 S.Ct. 3106 (1984)... cc ee nee ee ee ee es eee

 

PAGE(S)

52, 75

47, 48

57

67

69

59

75

74

59
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 8 of 94

TABLE OF CASES AND AUTHORITIES
(continued)

PAGE(S)

FTC v. Superior Court Trial Lawyers Assn.,
493 U.S. 411, 425-432,
107 L.Ed.2d 851, 110 S.Ct. 768
(199D) ccc cece cc cc ee eee ee eee eee eee eee ee eees 62

 

Forsyth County, Georgia v.
Nationalist Movement,
112 S.Ct. 2395 (1992)... ccc ee ee ee ewww eee 67

 

 

Gentile v. State Bar,
111 S.Ct. 2770 (1991)... ccc we cee e ccc were cee 67

 

Griswold v. Connecticut,
381 U.S. at 506,
85 8.Ct. at 1693............-, rrr 42

 

Harris v. McRae,
448 U.S., at 317, n. 19,
100 S.Ct., at 2688, n. 19... . ccc ccc we eee eee 47, 48,
49

Houston v. Hill,
482 U.S. 451 (1987)... cece case cae e ree eee 65

IDK, Inc. v. Clark County,
836 F.2d 1185, 1189
{9th Cir. 19BB)..... cece cas rece wenn van pene ena 37

 

Konigqsburg v. State Bar of California,
366 U.S. 36, 81 S.Ct. 997,
6 L.Ed.2d 105 (1961),
rehearing denied 368 U.S. 869,

 

82 S.Ct. 21, 7 L.Ed.2d 69 (1961)....... ce een. 52

Kucharek v. Hanaway,
902 F.2d 513, 517 (CA7 1990),
cert. denied, 498 U.S. :
112 L.Ed.2d 702, 111 S8.ct. 713
L199 LD) Cc cc ccc ccc ee eee re eee ee eee eens 60

 

 

vi
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94

TABLE OF CASES AND AUTHORITIES
(continued)

Leathers v. Medlock,
499 U.S. ' '
113 L.Ed.2d 494,

 

111 S.Ct. 1438 (1991)... cee cece eee

Lewis v. City of New Orleans,

 

415 U.S. 130 (1974).......... Loe ee cece eeaeas

Linmark Associates, Inc. v. Township

of Willingboro,
431 U.S. 85, 97 S.Ct. 1614,

 

52 L.Ed.2d 155 (1977) ccvevcececeecseunuee eee

Lipscomb v. Simmons,
962 F.2d 1374, 1379

 

{9th Cir. 1992} (en banc)... wee neve ecnas

Lovell v. City of Griffin,

 

303 U.S. 444 (1938) .icccccccevcecececuverees

Madison School District v. Wisconsin
Employment Relations Commission,
429 U.S. 167, 97 S.Ct. 421,

 

50 L.Ed.2d 376 (1976)... cceccecceecceccecces

Maher v. Roe,
432 U.S., at 475,

97 S.Ct., at 2383........-- Cet eee tee ee eee

Martin v. City of Struthers,

 

319 U.S. 141 (1943). ceveeeesaaae eee eeeeaee

Metromedia, Inc. v. San Diego,
453 U.S. 490, 555,
69 L.Ed.2d 800,

 

101 S.Ct. 2882 (1981)... ccc ccc ee cece eee

Minneapolis Star & Tribune Coa. v.
Minnesota Comm'r of Revenue,
460 U.S. 575, 103 §.Ct. 1365,

75 L.Ed.2d 295 (1983)... . cece eee nee see eee n ee

vii

Page 9 of 94

PAGE(S)

59

65

52

36

67

52

47, 48,

49

65

63

50
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 10 of 94

TABLE OF CASES AND AUTHORITIES
(continued)

 

PAGE(S)

Morales v. Trans World Airlines, Inc.,
504 U.S. , 119 L.Ed.2d 157,
112 §.Ct. (1992) Cc ce eee cee 61

Moore v. East Cleveland,
431 U.S. 494, 503,
97 S8.Ct. 1932, 52 L.Ed.2d 531
CLOTT) wc wenn vee rece ee eee et eee tee ae ee ees 42

NAACP v. Alabama,
377 U.S. 288 (1964)... ccc cece cece cece nneaaee 65

NAACP v. Burton,
371 U.S. 415 (1963)... ccc ccc cece cece eee sees 67

Near v. Minnesota,
283 U.S. 697, 51 S.Ct. 625,
75 L.Ed. 1357 (1931) wc vv rnc c ccna ccc crc ccnvvese 71

New York State Club Association, Inc.

v. New York City,
487 U.S. 1 (1988)....... ee ec @ wp es es ee Fee ehUcahUmra mlm ama a a ee 74

New York Times v. United States,
403 U.S. 713, 91 S.Ct. 2140,
29 L.Ed.2d 822 (1971)... cee reer cee e cere eens 71

 

Ohralik v. Ohio State Bar Assn.,
436 U.S. 447, 56 L.Ed.2d 444,
98 S.Ct. 1912 (1978)... ... cee ccc ee eee eee eee 61

Organization for a Better Austin v. Keefe,
402 U.S. 415, 91 S.Ct. 1575,
29 L.Ed.2d 1 (1971)......e000s beeen cece eeeees 71

Palko v. Connecticut,
302 U.S. 319, 325, 326,
58 s.ct. 149, 151, 152,
82 L.Ed. 288 (1937)...... scene ee tee ee eee a aee 41

 

Papachristou v. City of Jacksonville,
405 U.S. 156 (1972)... . cw eee eee se enee 66, 67

viii
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 11 of 94

TABLE OF CASES AND AUTHORITIES

 

 

 

 

 

 

 

 

 

 

(continued)
PAGE(S)
Police Dept. of Chicago v. Mosley,
4086 U.S. at 95-98,
33 L.Ed.2d 212, 92 §.Ct. 2286.......... sae eee 59
Posadas de Puerto Rico,
478 U.S., at 342-343,
92 L.Ed.2d 266, 106 S.Ct. 2968.............4. 63
R.A.V. v. St. Paul,
120 L.Ed.2d 305, 320-322 (1992)....... tee eens 58
Regan v. Taxation With Representation
Of WASK. .. ccc cc reece cence nace e ese cas eennee 46, 47,
a 48, 49
Renton v. Playtime Theatres, Inc.,
475 U.S. 41, 48, 89 L.Ed.2d 29,
106 S.Ct. 925 (1986)... ccc ccc eee eee eens 61
Roberts v. United States Jaycees,
468 U.S. 609 (1984)... ccc ccc ee eee wees 74
Rust v. Sullivan,
500 U.S. 173, '
111 §.Ct. 1759, 1772,
114 L.Ed.2d 233 (1991)..............44. sewn wee 36, 45,
50
Saia v. New York,
334 U.S. 558 (1948)... ccc ccc waae pee eee eae 67
Schaumburg v. Citizens for a Better
Environment,
444 U.S. 620 (1980)... cece ee ccc cece eww eae 65
Shuttlesworth v. Birmingham,
394 U.S. 147 (1969)... cre cnn ccc cnn n een nee 67
Simon & Schuster,
502 U.S., at '
116 L.Ed.2d 476, 112 S.Ct. 501.......... bees 59

ix
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 12 of 94

TABLE OF CASES AND AUTHORITIES
(continued)

PAGE(S)

Terminiello v. City of Chicago,
337 U.S. (194). ccc www ener nena a naenn teen nes 65

 

Tipton v. University of Hawaii,
15 F.3d 922, 926
(9th Cir. 1994)........22....200000. sete eens 36, 55

United States v. Grace,
461 U.S. 171, 103 S.Ct. 1702,
75 L.Ed. 736 (1983)..-...-.-.-25 522s bene eee 53, 55,
57

 

United States v. O'Brien,
391 U.S. 367, 88 S.Ct. 1673,
20 L.Ed.2d 672 (1968),
rehearing denied 393 U.S. 900,
89 §.Ct. 63, 21 L.Ed.2d 188
(1968)... eee cc ccc eee ee eee see ee eae tee eee 53, 54,
62, 69

United States v. Salerno,
481 U.S. 739, 107 §.ct. 2095,
95 L.Ed.2d 967 (1987) ...... 202 ccc cca aascccvee 37

 

Virginia Pharmacy Bd. v. Virginia
Citizens Consumer Council, Inc.,
425 U.S. 748, 771-772,
48 L.Ed.2d 346, 96 S.Ct. 1817
(1976)... acer rere eee er eee were eee eee eee eee 61

 

Watts v. United States,
394 U.S. 705, 707,
22 L.Ed.2d 664, 89 S.Ct. 1399
(1979) ccc cece cree een nnncees wee mem ere eee ee 60

 

Wayte v. United States,
470 U.S. S9B (1985)... eee eee eee ee 69

Young v. American Mini Theatres, Inc.,
427 U.S. 50, 71, n. 34,
49 L.Ed.2d 310, 96 S.Ct. 2440
(1976) (plurality); id., at 80-82,
49 L.Ed.2d 310, 96 S.Ct. 2440
(Powell, J., concurring).......... tee ee ee waa 61

 
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 13 of 94

TABLE OF CASES AND AUTHORITIES

 

(continued)
Acts 1992, No. 92-439,

p. 869, Sections 1-3..... seen eens been we eee eee
Section 13A-2-23, Code of Alabama, 1975.......+e8-
Section 13A-4-1, Code of Alabama, 1975............
Section 13A-4-2, Code of Alabama, 1975........ eae
Section 13A-4-3, Code of Alabama, 1975............
Section 13A-6-60(2), Code of Alabama, 1975..... soe
Section 13A-6-62, Code of Alabama, 1975...........
Section 13A-6-63, Code of Alabama, 1975...........
Section 13A-6-64, Code of Alabama, 1975........+..
Section 13A-6-65, Code of Alabama, 1975...........
Section 16-1-8, Code of Alabama 1975.........0e085
Section 16-1-28, Code of Alabama 1975........s000,
Section 16-55-11, et seq.,

Code of Alabama 1975...... ccc cece ec eer rece nee
Section 36-15-21, Code of Alabama 1975..........+--
29 C.F.R. Section 1604.11 (1991)......... sean eee
18 U.S.C. Section 242... cece wee ence teeter eee eens
18 U.S.C. Section BIL... ccc ccc eee ee eee eee eee
22 U.S.C. Section 4411(BD)...... ccc ee wee
42 U.S.C. Section 1981.........62 2. 0e see eee eae sae

xi

PAGE(S)

10, 37,

passim

6, 14
19
62
62
60
49
62
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 14 of 94

TABLE OF CASES AND AUTHORITIES

 

(continued)

42 U.S.C. Section 1982........0.000008 rr
42 U.S.C. Section 2000@-2..... ccc nce nrannnvnereces
18 U.S.C.S. Section 242.......00. sevens asa en aeane

18 U.S.C.S. Section B71... eee ee ee ee we ee eee

3 R. Rotunda, J. Nowak, and J. Young,
Treatise on Constitutional Law:
Substance and Procedure

Section 20.47 (1986)... ceca reer ee eee eens

The American Heritage Dictionary,

at 551, 724 (2nd College Ed. 1985)}..........

The Random House College Dictionary,

at 547, 768 (Rev. Ed. 1980)... cc. cece awe ee eee

West's Legal Thesaurus/Dictionary,

at 346, 454 (1st Ed. 1985)... eee eee eee ee eee

xii

62
62
62

60

52

72

72

72
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 15 of 94

INTRODUCTION TO BRIEF

 

This Pre-Trial Brief and Memorandum of Authorities has
been jointly submitted by the Defendants in the
above-styled and numbered cause pursuant to the provisions
of this Honorable Court’s Order of January 25, 1994, as
amended by Order of the Court dated May 13, 1994. A
Provisional Joint Motion for Leave of Court to File a
Supplemental Brief is filed contemporaneously herewith.

The procedural and factual history of this case is not
complex or unusual, but a true characterization thereof is
material to this Honorable Court's understanding of the
narrowness of the constitutional issues presented in this
litigation. This Introduction to Brief is necessary
because of the unusual way in which the Plaintiff has
structured some forty-four (44) pages of its Brief on the
Merits with respect to the procedural and factual history
of this case. In sum, the Plaintiff's Brief on the Merits
includes a number of assertions and generalizations which
are not legally authoritative and that are not cited to the
record.

The Defendants, as more fully set forth hereinbelow,
dispute the relevancy, materiality, and substance of said
assertions and generalizations. We respectfully urge this
Honorable Court in reaching a decision on the merits, in

fact we implore the Court, to be persuaded by substantive
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 16 of 94

legal argument, and not by the emotionally-charged
political innuendo, the unsupported assertions, or the
blatant political and social characterizations advanced by
the Plaintiff in its Brief on the Merits. The time of this
Honorable Court is much too valuable to be wasted on such
trivialities and it is for this reason, as well as obvious
others, that we ask the Court to carefully focus on the
narrow constitutional issues which have been presented, and
not to be impervious of the Plaintiff's charming but
strained presentation of the facts and of the law.

At the risk of generalization,* and if one may
express oneself so bluntly, counsel for the Plaintiff who
are appearing in this action at the behest of the American

Civil Liberties Union ("ACLU"), an organization of noble

 

*This writer is painfully aware that generalizations
and assumptions are not conducive to harmonious
professional relationships between adverse counsel. For
instance on one occasion, after seeking and receiving the
indulgence of a particular trial court on a procedural
matter of some inconsequence, opposing counsel in that case
remarked of this writer, “isn't that just like them?" This
writer was then left to ponder just what this remark meant,
particular in the context of the term "them," and
unfortunately was left with no alternative but to conclude
that the opposing counsel in that instance was embittered
with pre-conceived notions, or prejudices if one will,
about state attorneys and the integrity, motives, and
professionalism of lawyers in government service. Such
generalizations and assumptions are even more curious when
they reek of hypocrisy.
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 17 of 94

purposes for which this writer has much respect, are
misguidedly inclined to assume the worst possible motives
of the legislative and executive branches of the State of
Alabama with respect to the enactment and enforcement of
§16-1-28, Code of Alabama 1975.

Therefore, bluntly speaking, insofar as this writer
can discern, the attitude of the ACLU (as evidenced by the
context and content of its brief in behalf cof GLBA) seems
to be: "the victor will not be asked afterward whether
he/she fairly and accurately represented the underlying
facts or not in starting and waging this litigation; it is
not right that matters but victory." The Plaintiff's
self-opinionated recitation of the facts in their brief
implies that §16-1-28 was enacted on threadbare pretexts,
and that the statute constitutes an unfair, mean-spirited
and unconscionable act of discrimination against
homosexuals. The Plaintiffs also imply that the GLBA at
the University of South Alabama has been denied official
recognition and enjoyment of privileges that are available
to other officially recognized student organizations.
Nothing could be further from the truth.

In order to prevent any possible misinterpretation of
the underlying factual issues, we respectfully urge this
Honorable Court to review our recitation of the facts and

to focus careful attention upon the fundamental
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 18 of 94

constitutional issues upon which the Plaintiff's arguments

must ultimately succeed or fail.
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 19 of 94

PRELIMINARY STATEMENT

A. Defendants' Alternative Statements and
Alternative Defenses.

 

As more fully set forth hereinbelow, a number of the
Statements and Defenses advanced by the Defendants in this
Joint Brief on the Merits are presented alternatively and
hypothetically, and independently of one another. The
Defendants hereby respectfully submit that their legal
arguments made in the alternative and/or by hypothesis are
made without in any way waiving or intending to waive their
principal position in this brief that the provisions of
§16-1-28, Code of Alabama 1975, as amended, are not
repugnant to federal constitutional principles and the
federal case law which construes those principles, and that

this statute is constitutional in its entirety.

B. The Joint Position of the Defendants.

On or about April 29, 1994, one of the undersigned
counsel for Defendants Whiddon and Adams wrote the Court a
letter, duly served upon opposing counsel, explaining that
Defendant Evans, as Attorney General of the State of
Alabama, had assumed responsibility for tendering a Joint
Brief on the Merits for all of the named Defendants. A

true copy of that letter is attached hereto as Exhibit "A"
i

Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 20 of 94

and incorporated by reference herein. Because this letter
May unintentionally imply to the Court and to the Plaintiff
that the three separate Defendants to this litigation have
been "absorbed" or "merged" into one Defendant, Attorney
General Jimmy Evans, we believe that a point of
Clarification is in order.

Pursuant to §36-15-21, Code of Alabama 1975,
"TajJll litigation concerning the interest of the state,
or any department thereof, shall be under the direction and
control of the attorney general, and the employment of any
attorneys for the purposes of representing the state or any
department thereof shall be by the attorney general ...."
This statutory authority, which was upheld and discussed at
length by the Supreme Court of Alabama in Ex Parte Weaver,
570 So.2d 675 (Ala. 1990), stands for the proposition that
the Attorney General is empowered, when he appears for
State officers, to establish and formulate a uniform and
consistent legal policy to further the interest of the

State and the public which his office represents.”

 

“True copies of §36-15-21, Code of Alabama 1975, and
of the decision of the Supreme Court of Alabama in Ex Parte
Weaver, supra, are attached hereto as Exhibits "B" and "C"
and incorporated by reference herein.
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 21 of 94

Thus, there remain three separate, distinct, and
independent parties-Defendant to this litigation: Jimmy
Evans in his official capacity as Attorney General of the
State of Alabama, Frederick P. Whiddon in his official
capacity as President of the University of South Alabama,
and Dale T. Adams in his official capacity as Dean of

Students of the University of South Alabama.
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 22 of 94

PROCEDURAL AND FACTUAL HISTORY

 

A. The Challenged Statute.

 

§16-1-28, Code of Alabama 1975, as amended by
approval of the Alabama Legislature and the Governor of

Alabama on May 14, 1992, provides as follows:

"§16-1-8. No public funds or
public facilities to be used to
promote lifestyle or activities
prohibited by sodomy and sexual
misconduct laws.

(a) No public funds or public
facilities shall be used by any
college or university to, directly
or indirectly, sanction,
recognize, or support the
activities or existence of any
organization or group that fosters
or promotes a lifestyle or actions
prohibited by the sodomy and
sexual misconduct laws of Sections
13A-6-63 to 13A-6-65, inclusive.

(b) No organization or group that
receives public funds or uses
public facilities, directly or
indirectly, at any college or
university shall permit or
encourage its members or encourage
other persons to engage in any
such unlawful acts or provide
information or materials that
explain how such acts may be
engaged in or performed.

(c) This section shall not be
construed to be a prior restraint
of the first amendment protected
speech. It shall not apply to any
organization or group whose
activities are limited solely to
the political advocacy of a change
a

Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 23 of 94

in the sodomy and sexual

misconduct laws of this state.

(Acts 1992, No. 92-439, p. 869,

§§1-3.)"
In its text, this statute specifically refers to three
provisions in the Alabama Criminal Code: (i} §13A-6-63,
Code of Alabama 1975, which defines the Class A felony of
“sodomy in the first degree" to include “deviate sexual
intercourse" with another by "forcible compulsion,"
"deviate sexual intercourse" with a person “incapable of
consent," or "deviate sexual intercourse" by a person over
sixteen years of age with a person less than twelve years
of age; (ii) §13A-6-64, Code of Alabama 1975, which
defines the Class C felony of "sodomy in the second degree"
to include "deviate sexual intercourse" by a person over
the age of sixteen years with a person between the ages of
sixteen and twelve years, and "deviate sexual intercourse"
with a person "incapable of consent by reason of being
mentally defective"; and (iii) §13A-6-65, Code of Alabama
1975, which defines the Class A misdemeanor of "sexual
misconduct" to include sexual intercourse with a female
without her consent under certain defined circumstances or
with consent obtained by "the use of any fraud or
artifice," sexual intercourse by a female with a male

without the male's consent, and "deviate sexual

intercourse" with another under circumstances other than
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 24 of 94

those covered by §§13A-6-63 and 13A-6-64 with consent

being no defense in such an instance. For purpose of these
sections, “deviate sexual intercourse" is defined by
statute to be "[a]ny act of sexual gratification

between persons not married to each other involving the sex
organs of one person and the mouth or anus of another."

§13A-6-60(2), Code of Alabama 1975 (1993 Supp.).?

B. Course of Proceedings.

 

On September 27, 1993, the Gay Lesbian Bisexual
Alliance ["GLBA"] at the University of South Alabama
["USA"], through legal counsel, filed its Complaint in
this Court naming as Defendants Jimmy Evans, in his
official capacity as Attorney General of Alabama, and
Frederick P. Whiddon and Dale T. Adams, in their official
Capacities as President and Dean of Student Services,
respectively, at the University of South Alabama ["USA"]
[1 JR 3-22]. The Complaint attacks the
constitutionality and enforceability of §16-1-28 on at

least four identifiable grounds: ({i) it avers that the

 

*frue copies of §§ 13A-6-60, 13A-6-63, 13A-6-64, and
13A-6-65 are attached hereto as Exhibits "D", "E", "F", and
"G," respectively, and are incorporated by reference herein.

-10-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 25 of 94

statute, both facially and as applied, violates the First
Amendment to the United States Constitution, made
applicable to the States through the due process clause of
the Fourteenth Amendment, by imposing "content- and
viewpoint-based limitations on speech and expression by
organizations that receive public funds and/or use state
university facilities" and by otherwise "restrict[ing]
the speech and expression" of the GLBA and its members [1
JR 18]; (ii) it avers that the statute, both facially and
as applied, violates "associational rights" also guaranteed
by the First Amendment [1 JR 18-19]; (iii) it avers
that the statute is so vague, over-broad, and
"unintelligible" as to violate the First Amendment and due
process guarantees under the Fourteenth Amendment [1 JR
19-20]; and (iv) that application of the statute to the
GLBA and similar groups at other Alabama public colleges
and universities abridges the equal protection guarantees
of the Fourteenth Amendment [1 JR 20-21]. As such, the
GLBA seeks a declaration from this Court that §16-1-28 is
unconstitutional and requests the issuance of an injunction
prohibiting its enforcement, all in addition to whatever
other relief the GLBA claims is warranted under the
circumstances [1 JR 21-22].

University of South Alabama officers Whiddon and Adams

answered the Complaint on October 20, 1993, by admitting a

-ll-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 26 of 94

number of the Complaint's factual averments, by denying
others, and by generally denying that the statute is
unconstitutional [1 JR 23-30]. Attorney General Evans,
however, moved the Court on October 8, 1993, to dismiss him
from the litigation on the stated grounds, among others,
that he was "neither a real party in interest nor an
indispensable or necessary party to this litigation" and
that "[c]Jomplete relief" could be afforded between the
remaining parties since the Attorney General “intends to
fully comply with all final Orders of this Court,
regardless of whether he is formally a Party." After
briefing of this motion by the GLBA and the Attorney
General, this Court entered an order on December 27, 1993,
denying the requested relief [1 JR 31-35]. Attorney
General Evans answered the Complaint on February 18, 1994,
by maintaining, in relevant part, that §16-1-28 is
constitutional and enforceable [1 JR 36-42]. By
agreement of the parties and at the request of the Court,
this case is now being submitted for final decision on the
basis of a jointly prepared record supplemented by two
depositions [1 JR 1], and the parties' written and oral

arguments.

-l12-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 27 of 94

Cc. Facts Relevant to the GLBA and the University of
South Alabama.

A significant portion of the facts recited by the GLBA
in its opening brief pertains to the "history" of
§16-1-28, Code of Alabama 1975, and its claimed genesis in
a dispute concerning a gay and lesbian student organization
at Auburn University (another public university in the
State of Alabama} which ultimately resulted in litigation
in this Court and various pronouncements by the Alabama
Legislature or its members in the form of resolutions and
material reported in the news media.* While officials
at the University of South Alabama were generally aware of
these circumstances, there is no evidence that the USA in
general, or by and through its officers Whiddon and Adams
in particular, had the slightest involvement in the
drafting or passage by the Alabama legislature of what
became §16-1-28, Code of Alabama 1975, or otherwise
advocated or supported its implementation. Indeed, Dean
Adams, while being advised that legislation among these

lines was pending, believed that the legislation would not

 

*Auburn University v. The Auburn Gay and Lesbian
Association, Civil Action No. 92-D-374-E, United States
District Court for the Middle District of Alabama, the Hon.
Ira DeMent, U.S. District Judge. Memorandum Opinion issued
on May 11, 1992. [1 JR 0186].

~13-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 28 of 94

ultimately pass, that [in his lay opinion] it was
"possibly unconstitutional" in its current form, and that,
in any event, he was not in favor of it [Adams dep.
28-33]. USA concurs that the law appears to have been
intended by the Alabama Legislature to address gay and
lesbian student organizations at Alabama's public colleges
and universities [e.g., Adams dep. 74-75].
Accordingly, for the most part, the following factual
summary does not deal with the underlying circumstances
which may have precipitated passage of the challenged
statute but, more particularly, it addresses the
experiences of USA and the GLBA in confronting the statute
and its effects.

USA, which is a "public body corporate" established
and existing under provisions of Alabama law, see e.q.,
§§16-55-1, et seq., Code of Alabama 1975, permits the
registration of student organizations which meet certain
requirements? and provides various specific
information in support of their applications for

recognition [e.g., 2 JR 483]. The University believes

 

"Among other requirements, a student organization may
not discriminate "in any manner" on the basis of sex, race,
creed, color, religion, national origin, age, disability or
"sexual orientation" [2 JR 483].

-14-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 29 of 94

that such organizations "enhance[] the life on campus

of the students" by allowing students "to encounter
different viewpoints, ideas [and] perspectives"

[Adams dep. 12, 13]. In late 1991, a group of USA

Students applied for official recognition under the name
"Gay and Lesbian Student Alliance,"* having a stated
"primary" goal of "further[ing] basic human rights and
awareness within the university, among the students, and in
the community-at-large" [2 JR 316]. In a separate

document entitled "Justification for Need," the "Gay and
Lesbian Student Alliance" explained that, because the
"needs" of gay and lesbian students had "not been meet in
the past" at USA, the organization would attempt "to
address these needs by focusing [oO]n emotional,

political, and psychological awareness of the homosexual
Student" [2 JR 317]. The proposed organization would

thus serve “as an open forum where current political

issues [could] be discussed" and, through its various
activities, the organization would help "heighten the
awareness of the student body to the needs of its large gay

and lesbian population and [would] work fervently to

 

°The organization's name was subsequently changed to
the "Gay Lesbian Bisexual Alliance" [1 JR 212 42] and will
be referred to by the acronym "GLBA".

-15-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 30 of 94

combat homophobia and to foster understanding of the
dangers of homophobia on a university campus" [id.].
The organization intended to furnish information and
assistance on issues concerning “the general health and
well-being of its members and the university community as a
whole" and serve as a "support system" for its members and
as “an information source" for the rest of USA [id.].
The group's constitution contained the stated purpose "to
provide a foundation for unification for homosexual and
nonhomosexual people of the student population, in order to
draw support to further our efforts in educating all
members of the university community on the fears and
dangers of homophobia and to provide a support system for
the University of South Alabama's homosexual students" [2
JR 311]. The organization, which changed its name to the
"Gay Lesbian Bisexual Alliance" in the first part of 1993,
has variously described itself as "social/special interest"
and "political/social" in nature with a primary focus on
"social, political and cultural issues and events of
interest to gay, lesbian and bisexual people" [1 JR 214
16].

According to GLBA president George Hite Wilson, the
GLBA membership includes heterosexual and homosexual
students, involves itself in various political issues, but

claims it has not advocated violation of Alabama's criminal

-16-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 31 of 94

sodomy statutes or even urged that those provisions be
repealed [1 JR 215 198-10]. Dean Adams considers
that the GLBA has made positive contributions to USA in the
areas of HIV/AIDS education, support for gay, lesbian, or
bisexual students, and in education of others about issues
pertaining to "gay life" [Adams dep. 26]; he does not
feel the group has interfered with USA's educational
mission or that [he has knowledge that] it or its
members have violated provisions of Alabama criminal
statutes [Adams dep. 27].

The GLBA was granted recognition in either late 1991
or early 1992 [Adams dep. 25-26].”7 In early 1992,
prior to the approval of §16-1-28 in May of that year,
Dean Adams, being aware of criticism from local religious
bodies about a homosexual presence on the USA campus in
general and the GLBA in particular and of the continuing
dispute at Auburn University over chartering a similar
group [see e.g., 2 JR 324-326], met with the GLBA to
discuss "how we ought to proceed here on this campus
[and] I think it was sort of a joint agreement on our

part that we would try to do everything pretty low key here

 

7The Office of Campus Involvement, under Dean Adams'
direction, is responsible for registration of organizations
[Adams dep. 9].

-l17-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 32 of 94

until the things were settled at Auburn, primarily through
the court" [Adams dep. 38-43]. During this period, the
GLBA was planning to "hold[] a dance, open to everyone

at USA, to celebrate [the G1BA's] first year of

existence" [1 JR 219 419], but, after conferring with

Dean Adams, the GLBA agreed to "postpone" the dance
consistent with the "low key" approach suggested by Dean
Adams [Adams dep. 42].° By this advice, however,

Dean Adams was not attempting "to restrain them in any way
from doing what they wanted to do" [Adams dep. 42], for

if the GLBA had "said they wanted to go ahead and do it
[the dance] we would have tried to facilitate that"

[Adams dep. 43].

Contrary to Dean Adams' jlay] belief, expressed to
the GLBA, that the legislative proposal would fail [¢.q.,
1 JR 219 4920], the act that became §16-1-28, Code
of Alabama 1975, was approved by the Legislature and the
Governor in May, 1992. While Dean Adams, in his lay
opinion, saw no need for the legislation in the first

place, did not understand its requirements, and in his lay

 

°GLBA president Wilson acknowledges that the group
agreed to postpone the dance but attributes the
postponement to references by Dean Adams to the Alabama
Legislature's consideration of the bill which would become
§16-1-28 [1 JR 219 4419-20].

-18-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 33 of 94

opinion doubted its constitutionality®? [Adams dep.

28-33], he was nevertheless concerned about the effect

the law might have on the ability of USA to directly fund
the GLBA and thought it prudent at some point to obtain
legal advice from the Attorney General about the
interpretation and enforcement of the statute, particularly
if the GLBA actually sought funding [1 JR 245 6; Adams
dep. 48]. There was no intent to withdraw the GLBA's
Status as a registered student organization [Adams dep.
45], and USA proposed to continue to allow the GLBA to

use USA facilities [1 JR 248 4949]. In June, 1992, the

GLBA first requested access to a "university bank account,"
a banking-type service which USA offers to registered
student organizations through its business office [1 JR
219-220 921; 2 JR 327, 484; Adams dep. 48]. Dean Adams
transmitted this request to USA's internal counsel in late

July, 1992, with a cover memorandum seeking an “opinion and

 

°Herein illustrates the necessity for §36-15-21, Code
of Alabama 1975, as affirmed by the Supreme Court of
Alabama in Ex Parte Weaver, supra. If the Dean of Students
at a public university had the power to confess the
unconstitutionality of a statute, simply because he deems
it in his lay opinion to be unconstitutional, the Attorney
General’s ability to establish and formulate a uniform and
consistent legal policy to further the interest of the
State and the public his office represents would be
irreparably thwarted.

 

-19-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 34 of 94

recommendation for our action in this matter" in light of
§16-1-28 [2 JR 328]. This memorandum expressed Dean
Adams' belief, based on the GLBA's constitution, that the
organization's stated purpose of "education and support"
would not be in violation of §16-1-28 [id.]. Based

on information that the University of Alabama at Birmingham
had "declared" a similar group [to be] "'legal,'" Dean
Adams recommended that USA "stay the course at this point"
and "open an account" for the GLBA, and further noted that
the GLBA had been allowed "to contune to use the
facilities" [id.]. Dean Adams separately shared with

the GLBA that if the organization's money was put into a
“university bank account," it might be possible for the
GLBA to lose use of the money because USA "may be blocked
[by the statute] in some way as they are making
expenditures of their [GLBA’s] money" [Adams dep. 49,

53; see 1 JR 220 922]. As such, the GLBA was not
prohibited from opening such an account, but Dean Adams
recommended that the group instead open an account with a
commercial bank, which USA student organizations commonly
do [1 JR 251 414; 253 915; 255 417]. This type

of advice, which follows from the concept of institutional
control that attaches to funds in the custody of the

University [1 JR 252-253 415], was not specific to

-20-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 35 of 94

the GLBA, but equally applicable to all student

organizations:

"I always remind groups who want
to open a university banking
account that they are then -- that
that money, as I understand it,
and as the state auditor
understands it, becomes state
money and is therefore subject to
the review of the auditor and
state audit rules. And so some
things that they have liberty to
do with money on an outside
account they would not have
liberty to do with a university
account."

[Adams dep. 56]. The GLBA opened an account with a
local bank and later sought the reimbursement of the
service charges as part of its budget requests to the
Student Government Association [2 JR 399, 422].*°

The Student Government Association ["SGA"] at USA

is empowered to allocate funding derived from student

 

1°The GLBA seems to claim that the real disadvantage
from lack of access to a USA account lies in the area of
the transfer of SGA appropriations since the GLBA believes
that, if SGA funds are placed in a campus account, they can
be obtained for “disbursement before-the-fact" [GLBA's
Brief p. 31, n. 33]. Dean Adams does suggest this at one
point in his deposition, but notes that he was not exactly
clear on the process [Adams dep. 24]. In fact, SGA
allocations are disbursed in the form of a reimbursement
based on receipts, so the type of account - commercial or
campus - is irrelevant [e.g., Adams dep. 24-25; 2 JR
484-485, 500, 501].

-21-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 36 of 94

activity fees to student organizations if, among other
things, the activities being funding or subsidized,
"benefit the University and the students in a timely and
direct manner," the organization seeking an allocation has
"“demonstratefd] that a substantial effort has been

made, on the part of that organization, to fund the project
on its own," and funding requests are accompanied by
"itemized price estimates" [2 JR 484}.** Once the

SGA Senate has made an appropriation, the funds are
available for use upon presentation of receipts and further
approval by Dean Adams of a "requisition" [Adams dep.
20-25}. The GLBA's June, 1992, request for access to a
"university bank account, constituted notice to Dean Adams
that the group would be seeking an SGA allocation at some
point in the future [2 JR 328], a prospect which posed

some concern to Dean Adams since he felt that he would need
an opinion from the Attorney General concerning the effect
of §16-1-28 before he "could sign off on any requisition
for GLBA" [Adams dep. 58]. At some point during the

fall of 1992, Dean Adams became aware that the GLBA

intended to seek limited funding from the SGA in connection

 

**Funding is not available for partisan "political" or
"religious" organizations [Adams dep. 16-18}, and cannot be
sought or used for certain expenses [2 JR 484-485, 501].

-22-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 37 of 94

with the GLBA's sponsorship of or participation in an event
known as "World AIDS Day," which was scheduled to take
place on the USA campus in December, 1992 [Adams dep. 57;

2 JR 332, 337]. Dean Adams met with George Hite Wilson,
the president of GLBA, and Michael Mitchell, the president
of SGA, to determine whether some of the activities for
that event might be funded through having the SGA print
flyers and the like "without getting into a situation of
someone saying that we were not observing the law, whatever
it meant -- or means" [Adams dep. 61; 1 JR 221 925].

The GLBA did indeed seek $100 from the SGA in early
November, 1992, to defray the "printing cost of posters for
campus distribution” [2 JR 333-334], but the actual
printing costs of $102.50 for 100 flyers ended up being
routed through the Public Relations/Advertising Committee
by the SGA and approved by the SGA [1 JR 221 426; 2 JR

335, 336]. The flyers were printed [2 JR 339] and

the "World AIDS Day" event otherwise occurred as scheduled
[1 JR 221-222 421].

In early January, 1993, the GLBA submitted a second
request for an SGA allocation, this time seeking a total of
$884 for use in connection with an Alabama GLBA “group
conference" to be held at USA on February 20 and 21, 1993,
for the establishment of a "resource library," and in

connection with a guest speakers forum and a speakers

-23-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 38 of 94

bureau [1 JR 222 927; 2 JR 382-384]. At some point

prior to the actual SGA Senate budget meeting on January
25, 1993, the "executive council" of the SGA Senate
committee reviewed the GLBA's budget request and, by
eliminating some of the line items, proposed an adjusted
figure of $651 for SGA approval [1 JR 222 429; 2 JR

384]. According to George Hite Wilson, the GLBA's
president, on the day of the SGA Senate budget meeting he
was informed by Michael Mitchell, the SGA president, that
Dean Adams “had directed the SGA to table the budget
request until the [opinion] request could be reviewed

by the Attorney General" [1 JR 222 428]. Mr.

Mitchell does not confirm this claim in his affidavit [1
JR 230-232], but Dean Adams agreed during his deposition
that he may have indicated to Mr. Mitchell that the
allocation request be “tabled" until USA could obtain
further guidance from the Attorney General [Adams dep.
69-70]. In any event, the $651 funding allocation to the
GLBA proposed by the SGA executive counsel was not raised
or considered during the SGA budget meeting on January 25
[1 JR 223 930; 2 JR 386-393]. During a staff meeting

the next day, it was reported that the GLBA had made a
funding request and that the request would "be presented to
the Attorney General for [his] approval" [2 JR

394]. The minutes of this meeting also indicated that

-24-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 39 of 94

USA was being placed in "a Catch 22 situation" since "if
the State rules against funding and we abide by that
ruling, groups who support human rights such as the
American Civil Liberties Union will get involved" but if
the ruling was ignored, "the State will pursue the issue"
[2 JR 395].

On January 27, 1993, Dean Adams wrote GLBA president
Wilson to note that, in light of §16~-1-28, Code of
Alabama 1975, USA was requesting the Attorney General to
“interpret the law in light of your organization's recent
funding request," particularly since "(t]he language of
the bill seems ambiguous and we need clarification before
we can proceed with funding" [2 JR 396]. By this
letter, Dean Adams requested the GLBA to "submit a complete
list of speakers, topics, and overall purpose for the
activities you propose for funding" for submission to the
Attorney General [id.]. That letter prompted Mr.
Wilson to prepare another appropriation request which
sought $698 from the SGA for the purposes of providing a
speakers bureau and a guest speaker in the person of
William Rubenstein, an attorney who is ostensibly versed in
legal issues involving the gay and lesbian community [1
JR 223-224 932, 2 JR 402-405].

On February 12, 1993, USA President Whiddon wrote the

Attorney General to request an opinion about whether USA,

-35-
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Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 40 of 94

through its SGA, could fund the GLBA's revised request in
the amount of $698 in light of §16-1-28 [1 JR 198].
Enclosed with Dr. Whiddon's letter was organizational
documentation concerning the GLBA [1 JR 199-209] but,
apparently, the funding request itself was not actually
sent to the Attorney General although it was summarized in
the letter. USA took no further action concerning the
revised allocation request because of a "reluctance to
provide direct funding to the GLBA without guidance from
the Attorney General [Adams dep. 70-71]. According to
GLBA president Wilson, the GLBA was unable to have Mr.
Rubenstein speak on campus, presumably due to lack of
available funding [1 JR 224 433]. There is no
indication, however, that the GLBA presented Dean Adams
with a speaker's contract, which is the normal procedure
[Adams dep. 83-84], or otherwise sought reimbursement
from the SGA. [In anticipation of the SGA budgeting process
for the spring quarter, 1993, the GLBA prepared and
submitted another request which sought $720 that the GLBA
proposed to use in connection with a speakers bureau and
for miscellaneous expenses [1 JR 224-225 "35; 2 JR
422-424]. The bulk of the speakers bureau component of
the budget request pertained to expenses associated with
the GLBA's plan to bring John Howard, a graduate fellow

from Emory University, to the USA campus in May, 1993 [1

-26-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 41 of 94

JR 225 9435, 2 JR 424]. On April 19, 1993, the SGA
approved allocation of funds to the GLBA [1 JR 225 936;

2 JR 429, 432, 433].77 Dean Adams, who was in

attendance, indicated during the meeting that USA was still
waiting for an opinion from the Attorney General and "that
I didn't know what action I would have to take or could
take," but "the [SGA] Senate should do what they had to

do and that I would do what I had to do" [Adams dep. 76;

1 JR 225 437]. GLBA president Wilson maintains, and

Dean Adams basically concurred, that Dean Adams expressed
to the SGA Senate that he would have to consider
withholding approval of any allocation pending an opinion
from the Attorney General [1 JR 225 437; Adams dep.

76-77]. According to minutes of a May 18, 1993, staff
meeting, the GLBA was informed that funding would be held
up until "approval" was received from the Attorney General,
though "[o]ffers have been made to assist them with
programs etc. through other avenues" [2 JR 449]. The

minutes indicate, however, that he GLBA had “anticipated

 

*“There is some slight dispute about the amount that
the SGA approved. The SGA meeting minutes [at 2 JR 429]
referenced a figure of $500, SGA budget forms report $570
[2 JR 432, 433], and Mr. Wilson's affidavit indicates that
the SGA "voted to fund our speaker's bureau activities
(totalling $570)" [1 JR 225 49356].

~27-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 42 of 94

our decision on their request for funding" and "[t]he

ACLU will be getting involved" [id.]. Mr. Wilson

attests that, notwithstanding the appropriation by the SGA,
the GLBA could not take direct steps to have Mr. Howard
actually speak at USA during the spring quarter, 1993,
because it could not commit to funding his appearance
without the certainty of being able to have access to the
SGA allocation [1 Jr 225-226 9938, 40, 41]. Dean

Adams, apparently expecting the GLBA to seek reimbursement
for Mr. Howard's appearance, recalled a conversation with
SGA president Mitchell in which Mitchell reported that GLBA
president Wilson had informed him of "some controversy in
the group over the speaker they wanted to bring in, or
whether the speaker was going to be available to them," so
the GLBA had decided not to bring the speaker [Adams dep.
79; emphasis supplied]. Mr. Mitchell indicates in his
affidavit that he had not discussed the matter with the
GLBA, but he did have a conversation with Dean Adams "in
which I informed him that the SGA had not gotten any
further paperwork associated with GLBA's planned event,"
which "never took place, because the organization never

submitted receipts to the SGA for processing and

 

reimbursement" [2 JR 231 994-5; emphasis
supplied]. Mr. Wilson denies the existence of any

dispute over a speaker [1 JR 226 9742]. In any event,

-28-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 43 of 94

Mr. Wilson immediately commenced efforts to have Jaguar
Productions, a programming board also funded by student
activity fees [Adams dep. 12, 102], sponsor Mr.

Howard's appearance at USA, and that appearance ultimately
took place in October, 1993, though another speaker was
included in the program to "balance" the presentation [1
JR 226 939; 2 JR 452; Adams dep. 79-80, 87-90].7%

On June 29, 1993, Dean Adams wrote to GLBA president
Wilson to report that USA was "still waiting" for an
opinion from the Attorney General concerning the "legality
of funding your organization's request" [2 JR 452].
According to Mr. Wilson's affidavit, the GLBA submitted a
"much smaller budget request" in the amount of $198.85 to
the SGA for the summer quarter, 1993, but the SGA ended up
voting on July 26, 1993, to reimburse the GLBA for $16.31
expended in connection with awards certificates [1 JR
227 944]. On July 29, 1993, the Attorney General
responded to Dr. Whiddon's February, 1993, opinion request
[2 JR 210-211]. In the response, authored by Assistant
Attorney General James R. Solomon, Jr., the Chief of the

Attorney General's Opinions Division, the Attorney General

 

*3Mr. Wilson was on the governing board of Jaquar
Productions at the time [Adams dep. 79-80].

-29-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 44 of 94

referred to an opinion that had been previously issued to
State Representative Perry 0. Hooper, Jr., in February,
1992 [1 JR 57-60], and to §16-1-28, Code of Alabama

1975. The Attorney General concluded that "(t]he

Student Government Association may not provide funds to any
organization that fosters or promotes a lifestyle or
actions prohibited by §§13A-6-62 to 13A-6-65,

inclusive, Code of Alabama 1975," and thus answered in the
"negative" Dr. Whiddon's question about whether USA could
provide funding to the GLBA without violating the statute
[2 JR 211]. Dean Adams, in consultation with USA's
in-house attorney, decided that "we would have to deal with
{the statute] and that we would go through a

fact-finding process" that would hopefully "define the
words ‘foster and promote' based on what legal definitions
were available to us" and convene a "fact-finding group to
determine whether the GLBA had indeed violated -- or were
in violation of the law" [Adams dep. 94]. Though the
preliminary focus of this process would indeed be on the
GLBA [see 2 JR. 456], consistent with Dean Adams'
understanding of the background of the legislation as being
targeted at gay and lesbian student groups on State college
and university campuses [e.g., Adams dep. 37], Dean

Adams envisioned that there might be discussion "about

whether there are any other groups" [covered under the

-30-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 45 of 94

statute] in the event that the "fact-finding process"

could be conducted "in a way which was both within the law
and definition enough for us to proceed" [Adams dep.

95]. Dean Adams selected the members of this committee,
which was composed of some faculty members, some members of
Dr. Adams' staff, and some students, and conducted an
initial “planning" meeting to discuss the parameters of the
committee's future activities [Adams dep. 96-98; 2 JR

457]. Dean Adams expected the committee to move as

quickly as possible and to come to some conclusions prior
to the fall quarter budget meeting [Adams dep. 100]

but, as it turned out, the committee's activities were
suspended just after the first meeting [2 JR 458] in

light of the commencement of this litigation and neither
any "fact-finding" as such nor any committee decision has
ever been handed down [2 JR 240 {1].

At some point in early October, 1993, after the filing
of this suit, the GLBA submitted another appropriation
request to the SGA for $275.00 to be used for such purposes
as purchasing information packets, renting a videotape for
a special event, and the like [2 JR 459-461]. This
initial request was defeated in the SGA Senate on October
12, 1993 [2 JR 466], and an amended request for $210.00
likewise failed on November 1, 1993 [2 JR 469]. The

SGA president opines that, in light of the Attorney

-31-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 46 of 94

General's opinion, many of the student senators are
“unwilling to allocate money to the GLBA" on the belief
that "such an allocation might mean that they personally
would be violating the new state law" [1 JR 231 {8].

As such, the SGA president does not anticipate SGA approval
of "Significant funds" to the GLBA "until this law suit
resolves whether the new law should have any impact on our

funding decisions" [1 JR 2324 J.

-32-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 47 of 94

INTRODUCTION TO ARGUMENT

 

The Defendants respectfully suggest that many cases
before this Honorable Court will have a much more
complicated set of facts that lead to litigation; however,
we also suggest that no case, such as that sub judice, will
in reality have a less complicated set of facts than the
mischaracterized factual arguments which have been advanced
by the Plaintiff in this cause. In fact, we respectfully
submit that in their Brief on the Merits the Plaintiff, in
a blatant attempt to inflame the passions of this Honorable
Court, has engaged in an interminable exposition of
mischaracterization of the facts in order to ferment the
reader's mind with visions of an alleged homophobic
atmosphere at the University of South Alabama which
consists of oppression of the GLBA, "gay bashing," and
wholesale violation(s) of individual liberty and freedom.

The strategy and technique of the Plaintiff in its
brief appears to be that of "political correctness
warfare." Indeed, the Plaintiff's Brief on the Merits is
some eighty (80) pages in length but yet their argument of
the substantive legal issues presented by this case does
not even begin until page forty-five (45)! We respectfully
submit that the atmosphere on the campus of the University
of South Alabama, in the context of this litigation, is in

fact not an atmosphere of homophobic oppression of the GLBA

-33-
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Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 48 of 94

as the Plaintiff seems to claim. The Plaintiff's counsel
have drawn a picture of the underlying factual posture of
this case which their imagination has now established
indelibly in their heads. They can see nothing but their
version, which is really an amazing one, in view of the
fact that there is absolutely no evidence before this
Honorable Court of threats, of threats physical violence,
of hostility, or of actual violence of any kind against the
Plaintiff and the members of its group. Moreover, it is
clear from the jointly prepared record, as supplemented by
two depositions, that the Gay Lesbian Bisexual Alliance at
the University of South Alabama has been recognized by the
granting of an official character, that the charter has not
been revoked, and that the constitutional rights of
individual members of the GLBA have not been infringed.
Indeed, all the direct and implied argument(s)} by the
Plaintiff to the contrary are clearly belied by the
stipulated record.

Therefore, as originally set forth hereinabove, we
respectfully urge this Honorable Court, in rendering a
decision on the merits, to carefully focus on the narrow
constitutional question(s) which have been presented for
adjudication, and not to be swayed by emotionally-charged

argument(s} of the Plaintiff which have no foundation in

-34-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 49 of 94

law or fact and which are irrelevant and immaterial to the
narrow legal issues.

In its review of the Plaintiff's narration of the
underlying facts, a narration which is abstract,
immaterial, but a "flailing of the air," completely futile,
and entirely and purposely specious in nature, we
respectfully submit that this Honorable Court should look
for answers to some very definite questions. Has any
individual member of the GLBA at the University of South
Alabama been prevented from engaging in constitutionally
protected speech or association? Has the charter of the
GLBA at the University of South Alabama been revoked or
suspended? Has the administration of the University of
South Alabama engaged in a pattern or practice of treating
the GLBA differently from other student groups without

legal cause?

-35-
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Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 50 of 94

I. THE PLAINTIFF'S ARGUMENT(S) WITH RESPECT TO
STRICT APPLICATION OF FREE EXPRESSION AND FREE
ASSOCIATION PRINCIPLES TO TEST THE
CONSTITUTIONALITY OF LEGISLATION IN THE
UNIVERSITY ENVIRONMENT ARE SPECIOUS BECAUSE,
GENERALLY, THE STATE IS UNDER NO OBLIGATION TO
FUND THE EXERCISE OF CONSTITUTIONAL RIGHTS.

 

 

 

 

 

 

 

Because, they say, §16-1-28, Code of Alabama 1975,
as amended, focuses on public university campuses, and
because in this case a controversy with respect thereto has
arisen in a university environment, the Plaintiff argues
for strict application of free association principles to
test its constitutionality. While this argument is
deceptively attractive, the Defendants would argue that in

reality it is without merit because:

"Generally speaking, the
state is under no obligation to
fund the exercise of
constitutional rights. E.q.,
Lipscomb v. Simmons, 962 F.2d
1374, 1379 (9th Cir. 1992) (en
banc). ‘The Government can,
without violating the
Constitution, selectively fund a
program to encourage certain
activities it believes to be in
the public interest, without at
the same time funding an alternate
program which seeks to deal with

 

 

the problem in another way.' Rust
v. Sullivan, 500 U.S. 173, '
111 8.cCt. 1759, 1772, 114 L.Ed.2
233 (1991)."

Tipton v. University of Hawaii, 15 F.3d 922, 926 (9th Cir.

 

1994). Indeed, "[s]o long as a state policy can be

-36-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 51 of 94

applied constitutionally under some set of circumstances, a
facial challenge to that policy must ordinarily fail." Id.
at 925, citing with approval, United States v. Salerno, 481
U.S. 739, 107 S.Ct. 2095, 95 L.Ed.2d 967 (1987); IDK, Inc.
v. Clark County, 836 F.2d 1185, 1189 (9th Cir. 1988).

In addition, it is singular to note that by analogy
the Supreme Court of the United States, applying the same
or similar principles with respect to secondary schools,
has held that "[t]he First Amendment does not prevent
{ ] school officials from determining that .. . vulgar
and lewd speech . . . would undermine the school's basic
educational mission. A... . assembly or classroom is no
place for a sexually explicit monologue .. . [and]
vulgar speech and lewd conduct is wholly inconsistent with
the 'fundamental values' of public school education."

Bethel School Dist. No. 403 v. Fraser, 106 §.ct. 3159, 478

 

U.S. 675, 92 L.Ed.2d 549 (1986).

Because the fostering and the promotion of homosexual
conduct, and the provision of visual or other materials in
support thereof would, by its very nature, involve
discussions or demonstrations with respect to acts of ". .
sexual gratification between persons not married to each
other involving the sex organs of one person and the mouth
or anus of another," see e.g., §13A-6-60(2}, Code of

Alabama 1975, it strains the realm of credulity for anyone

-37-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 52 of 94

to suggest or to expect that a speech or presentation on
the campus of the University of South Alabama promoting or
fostering homosexual misconduct would be anything less than
very elaborately, very graphically, and very explicitly
vulgar and lewd.

And, as the Supreme Court explicitly noted in Bethel

School District No. 403, supra:

 

"Surely it is a highly
appropriate function of public
school education to prohibit the
use of vulgar and offensive terms
in public discourse. Indeed, the
*fundamental values necessary to
the maintenance of a democratic
political system' disfavor the use
of terms of debate highly
offensive or highly threatening to
others. Nothing in the
Constitution prohibits the states
from insisting that certain modes
of expression are inappropriate
and subject to sanctions. The
inculcation of these values is
truly the ‘work of schools.'
(citation omitted) ...

The process of education
[of] our youth for citizenship
in public schools is not confined
to books, the curriculum, and the
civics class; schools must teach
by example the shared values of a
Civilized social order.
Consciously or otherwise, teachers
-- and indeed the older students
-- demonstrate the appropriate
form of civil discourse and
political expression by their
conduct and deportment in and out
of class. Inescapably, like
Parents, they are role models.

-38-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 53 of 94

The schools, as instruments of the
State, may determine that the
essential lessons of civil, mature
conduct cannot be conveyed ina
school that tolerates lewd,
indecent, or offensive speech and
conduct... ."

106 S.Ct. at 3164.

As these decisions seem to strongly suggest, the
interests of the State in proscribing conduct incidental to
speech, such as that conduct which is at issue in the
matter at bar with respect to the proscriptions of
§16-1-28, Code of Alabama 1975, as amended, are sometimes

entitled to greater judicial deference when the forum is a

publicly-supported school or college.

-39-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 54 of 94

It. BECAUSE SODOMY AND SEXUAL MISCONDUCT ARE NOT
ACTIVITIES THAT FALL WITHIN THE PROTECTION OF THE
FIRST AMENDMENT, THE STATUTE IN QUESTION DOES NOT
HAVE TO BE JUSTIFIED BY A COMPELLING GOVERNMENTAL
INTEREST.

 

 

It is the settled jurisprudence of the Supreme Court
of the United States that the constitution does not confer
a fundamental right upon homosexuals to engage in sodomy

and sexual misconduct: Bowers v. Hardwick, 106 §.Ct. 2841

 

(1986). In this landmark case, which arose from an action
by a practicing homosexual challenging the
constitutionality of Georgia’s sodomy statute, the Court

explicitly held that:

"This case does not require a
judgment on whether laws against
sodomy between consenting adults
in general, or between homosexuals
in particular, are wise or
desirable .. . [t]he issue
presented is whether the Federal
Constitution confers a fundamental
right upon homosexuals to engage
in sodomy and hence invalidates
the laws of the many States that
still make such conduct illegal
and have done so for a very long
time... . we think it evident
that none of the rights announced
in the cases cited by respondent
bears any resemblance to the
claimed constitutional right of
homosexuals to engage in acts of
sodomy that is asserted in this
case. No connection between
family, marriage, or procreation
on the one hand and homosexual
activity on the other has been
demonstrated .. . by respondent.

-4Q-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 55 of 94

Moreover, any claim that these
cases nevertheless stand for the
proposition that any kind of
private sexual conduct between
consenting adults is
constitutionally insulated from
State proscription is
unsupportable

Precedent aside, however,
respondent would have us announce
a fundamental right to
engage in homosexual sodomy. This
we are quite unwilling to do. It
is true that despite the language
of the Due Process Clauses of the

Fifth and Fourteenth Amendments,
which appears to focus only on the
processes by which life, liberty,
or property is taken, the cases
are legion in which those Clauses
have been interpreted to have
substantive content, subsuming
rights that to a great extent are
immune from federal or state
regulation or proscription

Striving to assure itself and
the public that announcing rights
not readily identifiable in the
Constitution's text involves much
more than the imposition of the
Justices’ own choice of values on
the States and the Federal
Government, the Court has sought
to identify the nature of the
rights qualifying for heightened
judicial protection. In Palko v.
Connecticut, 302 U.S. 319, 325,
326, 58 S.Ct. 149, 151, 152, 82
L.Ed. 288 (1937), it was said that
this category includes those
fundamental liberties that are
‘implicit in the concept of
ordered liberty,' such that
neither liberty nor justice would
exist if [they] were
sacrificed.' A different
description of fundamental

-41-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 56 of 94

liberties appeared in Moore v.
East Cleveland, 431 U.S. 494, 503,
97, §.Ct. 1932, 52 L.Ed.2d 531
(1977} (opinion of POWELL, J.),
where they are characterized as
those liberties that are 'deeply
rooted in this Nation's history
and tradition.' Id., at 503, 97
S.Ct. at 1938 (POWELL, J.). See
also Griswold v. Connecticut, 381
U.S. at 506, 85 §.Ct. at 1693.

 

It is obvious to us that
neither of these formulations
would extend a fundamental right
to homosexuals to engage in acts
of consensual sodomy.
Proscriptions against that conduct
have ancient roots. See generally
Survey on the Constitutional Right
to Privacy in the Context of
Homosexual Activity, 40 U.Miami
L.Rev. 521, 525 (1986}. Sodomy
waS a criminal offense at common
law and was forbidden by the laws
of the original thirteen States
when they ratified the Bill of
Rights. In 1868, when the
Fourteenth Amendment was ratified,
all but 5 of the 37 States in the
Union had criminal sodomy laws.

In fact, until 1961, all 50 States
outlawed sodomy, and today, 24
States and the District of
Columbia continue to provide
criminal penalties for sodomy
performed in private and between
consenting adults. See Survey,
U.Miami L.Rev., supra, at 524, n.
9. Against this background, to
claim that a right to engage in
such conduct is ‘deeply rooted in
this Nation's history and
tradition’ or ‘implicit in the
concept of ordered liberty' is, at
best, facetious.'

106 S.Ct. 2843-2846.°"

-42-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 57 of 94

The Defendants respectfully submit that if the State
of Alabama may enact laws which proscribe homosexual
misconduct, or "sodomy," as a criminal offense then it
therefore follows, a fortiori, that the State may
constitutionally enact laws which are designed to prohibit
conduct which aids, furthers, or abets the commission of a
criminal sodomy offense.

On its face §16-1-28, Code of Alabama 1975, as
amended, seeks to proscribe conduct which aids, furthers,
or abets the commission of criminal sodomy offenses. The
statute is aimed at prohibiting ". . . [the]
foster[ing] or promot[ion] of . . . actions
[which] are prohibited by the sodomy and sexual
misconduct laws of [Alabama}." In addition, the
Statute seeks to proscribe the encouragement of “unlawful
acts," such as sodomy, which are classified as criminal
offenses under §§13A-6-60, et seq., Code of Alabama
1975, and to proscribe the dissemination of materials that
would assist persons possessing mens rea in engaging in
unlawful sexual conduct.

The Plaintiff does not challenge the constitutionality
of other inchoate statutes, i.e., §13A-4-1 (criminal
solicitation); §13A-4-2 (attempt); §13A-4-3 (criminal
conspiracy); or §13A-2-23 (complicity). If a person

whose sexual orientation is admittedly "gay" or "lesbian"

-43-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 58 of 94

IIl. THE STATUTE IN QUESTION IS A VIEWPOINT NEUTRAL
MEANS FOR ENSURING THAT GOVERNMENT FUNDS AND
GOVERNMENT FACILITIES ARE USED ONLY FOR THE
PURPOSES FOR WHICH THEY WERE GRANTED.

 

 

The Defendants would respectfully submit that
§16-1-28, Code of Alabama 1975, as amended, amounts to
nothing more than a viewpoint neutral means for ensuring
that government funds and government facilities are used
only for the purposes for which they were granted. The
decision of the Supreme Court of the United States in Rust
v. Sullivan, 111 S.Ct. 1759 (1991) is authoritatively
instructive on this issue.

In Rust v. Sullivan, supra, the Supreme Court upheld a
provision of a federal government program providing funding
to certain organizations that provide "family planning
services," but prohibiting persons or groups who receive
the funds from providing abortion information as part of
their service. Fund recipients can provide information
only at a time and place separate from the federally funded
family planning service. The Court reasoned that the
government is not required to provide subsidies for
abortion, and the restriction is merely a viewpoint neutral
means of ensuring that government funds are spent only on
the family planning services for which they were granted.

The First Amendment arguments advanced by the

petitioners in Rust v. Sullivan, supra, which are

-45-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 59 of 94

strikingly similar to the First Amendment arguments
advanced by the Plaintiff in the matter at bar, were

squarely rejected by the Supreme Court.

"Petitioners contend that the
regulations violate the First
Amendment by impermissibly
discriminating based on viewpoint
because they prohibit ‘all
discussion about abortion as a
lawful option - including
counseling, referral, and the
provision of neutral and accurate
information about ending a
pregnancy ~ while compelling the
clinic or counselor to provide
information that promotes
continuing a pregnancy to term.'
Brief for Petitioners in No.
89-1391, p. 11. They assert that
the regulations violate the 'free
speech rights of private health
care organizations that receive
Title X funds, of their staff, and
of their patients' by
impermissibly imposing ‘viewpoint
- discriminatory conditions on
government subsidies’ and thus
penaliz[e] speech funded with
non-Title X monies.' Id., at 13,
14, 24. Because 'Title xX
continues to fund speech ancillary
to pregnancy testing in a manner
that is not evenhanded with
respect to views and information
about abortion, it invidiously
discriminates on the basis of
viewpoint." Id., at 18. Relying
on Regan v. Taxation With
Representation of Wash., and
Arkansas Writers Project, Inc. v.
Ragland, 481 U.S. 221, 234, 107
S.Ct. 1722, 1730, 95 L.Ed.2d 209
(1987), petitioners also assert
that while the Government may
place certain conditions on the

 

 

 

-46-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 60 of 94

receipts of federal subsidies, it
may not ‘discriminate invidiously
in its subsidies in such a way as
to ‘ai[m} at the suppression

of dangerous ideas.' Regan,
supra, 461 U.S., at 548, 103
§.cCt., at 2002 (quoting Cammarano
v. United States, 358 U.S. 498,
513, 79 §.ct. 524, 533, 3 L.Ed.2d
462 (1969)).

There is no question but that
the statutory prohibition
contained in § 1008 is
constitutional. In Maher v. Roe,
supra, we upheld a state welfare
regulation under which Medicaid
recipients received payments for
services related to childbirth,
but not for nontherapeutic
abortions. The Court rejected the
claim that this unequal
subsidization worked a violation
of the Constitution. We held that
the government may 'make a value
judgment favoring childbirth over

abortion, and... implement
that judgment by the allocation of
public funds.' Id., 432 U.S., at

474, 97 S.Ct., at 2382. Here the
Government is exercising the
authority it possesses under Maher
and McRae to subsidize family
planning services which will lead
to conception and childbirth, and
declining to ‘promote or encourage
abortion.' The Government can,
without violating the
Constitution, selectively fund a
program to encourage certain
activities it believes to be in
the public interest, without at
the same time funding an alternate
program which seeks to deal with
the problem in another way. In so
doing, the Government has not
discriminated on the basis of
viewpoint; it has merely chosen to
fund one activity to the exclusion

-47-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 61 of 94

of the other. ‘[A]

legislature's decision not to
subsidize the exercise of a
fundamental right does not
infringe the right.' Regan,
supra, 461 U.S., at 549, 103
S.Ct., at 2003. See also,
Buckley v. Valeo, 424 U.S. 1, 96
S.Ct. 612, 46 L.Ed.2d 659 (1976);
Cammarono v. United States,
supra. ‘A refusal to fund
protected activity, without more,
cannot be equated with the
imposition of a ‘penalty’ on that
activity.’ McRae, 448 U.S., at
317, n. 19, 100 S.Ct., at 2688, n.
19. ‘There is a basic difference
between direct state interference
with a protected activity and
state encouragement of an
alternative activity consonant

 

with legislative policy." Maher,
432 U.S., at 475, 97 §.Ct., at
2383.

The challenged regulations
implement the statutory
prohibition by prohibiting
counseling, referral, and the
provision of information regarding
abortion as a method of family
planning. They are designed to
ensure that the limits of the
federal program are observed. The
Title X program is designed not
for prenatal care, but to
encourage family planning. A
doctor who wished to offer
prenatal care to a project patient
who became pregnant could properly
be prohibited from doing so
because such service is outside
the scope of the federally funded
program. The regulations
prohibiting abortion counseling
and referral are of the same ilk;
‘no funds appropriated for the
project may be used in programs
where abortion is a method of

-48-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 62 of 94

family planning," and a doctor
employed by the project may be
prohibited in the course of his
project duties from counseling
abortion or referring for
abortion. This is not a case of
the Government 'suppressing a
dangerous idea,' but of a
prohibition on a project grantee
or its employees from engaging in
activities outside of its scope.

To hold that the Government
unconstitutionally discriminates
on the basis of viewpoint when it
chooses to fund a program
dedicated to advance certain
permissible goals, because the
program in advancing those goals
necessarily discourages
alternative goals, would render
numerous government programs
constitutionally suspect. When
Congress established a National
Endowment for Democracy to
encourage other countries to adopt
democratic principles, 22 U.S.C.

§ 441l(b), it was not
constitutionally required to fund
a program to encourage competing
lines of political philosophy such
as Communism and Fascism.
Petitioners' assertions ultimately
boil down to the position that if
the government chooses to
subsidize one protected right, it
must subsidize analogous
counterpart rights. But the Court
has soundly rejected that
proposition. Regan v. Taxation
With Representation of Wash.,
supra; Maher v. Roe, supra; Harris
v. McRae, supra. Within far
broader limits than petitioners
are willing to concede, when the
government appropriates public
funds to establish a program it is
entitled to define the limits of
that program.

 

 

-49-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 63 of 94

We believe that petitioners'
reliance upon our decision in
Arkansas Writers Project, supra,
is misplaced. That case involved
a state sales tax which
discriminated between magazines on
the basis of their content.
Relying on this fact, and on the
fact that the tax 'targets a small
group within the press,' contrary
to our decision in Minneapolis
Star & Tribune Co. v. Minnesota
Comm'r of Revenue, 460 U.S. 575,
103 §.Ct. 1365, 75 L.Ed.2d 295
(1983), the Court held the tax
invalid. But we have here not the
case of a general law singling out
a disfavored group on the basis of
speech content, but a case of the
Government refusing to fund
activities, including speech,
which are specifically excluded
from the scope of the project
funded."

 

 

111 S.Ct. 1771-1773.

Applying the foregoing principles, this Honorable
Court should have no difficulty in holding that §16-1-28
amounts to nothing more than viewpoint neutral means for
ensuring that government funds and government facilities
are used only for the purposes for which they are granted,
Why should the taxpayers of Alabama be required to provide
funds and educational facilities for the GLBA's potential
promotion of sodomy, which constitutes criminal sexual
misconduct under the laws of this State? Funds and
facilities that are available to public schools and

colleges were not appropriated and constructed to provide a

-50-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 64 of 94

forum for persons of any specific sexual orientation, much
less for persons whose sexual practices by their very
definition are criminal! Section 16-1-28 does not prevent
the GLBA from being officially charted, from receiving SGA
funds and from using campus facilities; GLBA and its
members need only refrain from promoting sodomy, a sexual

criminal offense.

-51-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 65 of 94

IV. THE STATUTE IN QUESTION CLEARLY SEEKS TO REGULATE
CONDUCT WHICH IS INCIDENTAL TO SPEECH AND IT DOES
NOT FORBID THE COMMUNICATION OF SPECIFIC IDEAS.
While it is axiomatic that all speech is conveyed
through physical action (e.g., talking, writing,
distributing pamphlets, etc.), and that the freedom of
belief is absolute, the freedom to convey beliefs cannot
be. Konigsburg v. State Bar of California, 366 U.S. 36, 81
S.Ct. 997, 6 L.Ed.2d 105 (1961), rehearing denied 368 U.S.
869, 82 S.Ct. 21, 7 L.Ed.2d 69 (1961). Accord, Calash v.
City of Bridgeport, 788 F.2d 80 (2d Cir. 1986) (protected
speech is not equally permissible in all places at all
times). The government may reasonably regulate speech
related conduct through content neutral time, place, and
manner regulations. Thus, generally speaking, speech in
public places may be regulated by reasonable time, place,

and manner restrictions. Madison School District v.

 

Wisconsin Employment Relations Commission, 429 U.S. 167, 97

S.Ct. 421, 50 L.Ed.2d 376 (1976); Linmark Associates, Inc.

 

v. Township of Willingboro, 431 U.S. 85, 97 S.Ct. 1614, 52

 

L.Ed.2d 155 (1977). See generally, 3 R. Rotunda, J. Nowak,
and J. Young, Treatise on Constitutional Law: Substance
and Procedure §20.47 (1986).

The Supreme Court of the Unites States has articulated

two analytical methods for review of time, place, or manner

-52-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 66 of 94

restrictions. Under the first test, (1) government
regulation is sufficiently justified if it is within the
constitutional power of the government; (2) if it furthers
an important or substantial governmental interest; (3) if
the government interest is unrelated to the suppression of
free expression; and (4) if the incidental restriction on
alleged First Amendment freedoms is no greater than is
essential to the furtherance of that interest. United
States v. O'Brien, 391 U.S. 367, 88 S.Ct. 1673, 20 L.Ed.2d
672 (1968), rehearing denied 393 U.S. 900, 89 S.Ct. 63, 21
L.Ed.2d 188 (1968).

To be valid under the second method of analysis,
government regulations on speech and assembly in public
places must be: (1) content neutral (i.e., subject matter
neutral and viewpoint neutral); (2) narrowly tailored to
serve a significant government interest; and (3) leave open
alternative channels of communication. United States v.
Grace, 461 U.S. 171, 103 S.Ct. 1702, 75 L.Ed. 736 (1983).
We respectfully submit that the former of these two tests
is the one that should be applied by this Honorable Court
in reviewing the constitutionality of §16-1-28, Code of

Alabama 1975, as amended.

-53-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 67 of 94

A. Conduct.

Applying the O'Brien test, there can be no doubt that
§16-1-28, Code of Alabama 1975, seeks to regulate conduct
which is incidental to speech and it does not forbid the
communication of specific ideas. First, the law is quite
clear that the State of Alabama has the constitutional
power to regulate homosexual misconduct. Bowers v.
Hardwick, supra. Second, the statute furthers an important
or substantial government interest in regulating homosexual
misconduct because it cannot be disputed that the State of
Alabama does indeed have an interest in promoting lawful
marriage and in fostering the procreation of children, two
vital interests which can never be legally or biologically
achieved where individuals engage in sodomy. Third, the
government interest served by enactment of §16-1-28 is
unrelated to the suppression of free expression. If the
State of Alabama were perchance looking for sources of
friction with the homosexual community it would not need
§16-1-28 for that. The legislature could have simply
enacted a wide array of legislation designed to punish
homosexuality for the sake cf punishment, or it could have
enacted legislation which through its very enforcement
would harass and intimidate persons of homosexual
orientation. This the Alabama legislature has not done.

The language of statute itself leaves no room for doubt

-54-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 68 of 94

that it is not intended as a "prior restraint of the first
amendment protected speech," and that it is inapplicable to
"any organization or group whose activities are limited
solely to the political advocacy of a change in the sodomy
and sexual misconduct laws of this state." And fourth, any
incidental restrictions imposed by §16-1-28 are

outweighed by the interests of the State of Alabama in
proscribing homosexual misconduct and in promoting marriage

and fostering the procreation of children.

B. Content.

Even should this Honorable Court be inclined to apply
the Grace test, we respectfully submit that §16-1-28,
Code of Alabama 1975, as amended, may still withstand the
Plaintiff's constitutional challenge. First, the statute
does not seek to requlate the content of speech. It merely
denies public funds and public facilities to any group or
organization that, in its publicly-funded activities upon
public facilities, would foster or promote criminal
violations of the state's sodomy and sexual misconduct
laws. If the state is under no obligation to fund the
exercise of constitutional rights at all, Tipton v.

University of Hawaii, supra, then it is certainly not

 

required under the Constitution to fund the speech and

assembly activities of any individual or group who/which

-55-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 69 of 94

openly advocates sodomy and sexual misconduct in clear
violation of state law. Second, the statute is narrowly
tailored to serve two separate and distinct significant
governmental interests, the prevention of violation(s) of
criminal sodomy laws and the advancement of the concept of
legal marriages and the fostering of procreation of
children. And third, the statute in question clearly and
unambiguously leaves open alternative channels of
communication. The statute does not blanketly prevent or
prohibit homosexual groups from assembling and conducting
activities on college campuses. The statute does not
prevent such groups from receiving official recognition or
funding. The statute does not prevent generalized
discussion(s) of homosexuality. THE STATUTE MERELY
STIPULATES THAT IN ORDER FOR SUCH GROUPS TO RECEIVE
OFFICIAL RECOGNITION AND FUNDING, THEY MUST REFRAIN FROM
PROMOTING UNLAWFUL ACTIVITIES WHICH ARE PROSCRIBED BY THE
SODOMY AND SEXUAL MISCONDUCT LAWS OF THE STATE OF ALABAMA.
The object or goal of the statute is as simple as that, and
Plaintiff's arguments to the contrary are fallacious in
their reasoning and doomed to fail. At no point in these
proceedings has the Plaintiff even bothered to take notice
of the fact that the statute at issue seeks to regulate
only those groups or organizations which are publicly

funded and which utilize public facilities. Thus,

-56-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 70 of 94

alternative channels of communication are clearly "open,"
as required under Grace, supra, because the statute applies
to the GLBA {or any similar group) only when that group is
engaged in speech and association activities funded by the
taxpayers and which occur in a taxpayer-funded facility,
such as an auditorium. Surely the Plaintiff has never
seriously entertained the notion that the statute seeks to
bar USA students who are members of the GLBA from
assembling and engaging in any and all speech of a
homosexual nature while on campus. The statute does no
such thing. Again, it merely provides that if the GLBA (or
any similar group) is going to engage in assembly and
speech supported by taxpayer funds and which formally takes
place in a taxpayer facility, then it or any other group
must refrain from speech or activities promoting homosexual
misconduct as proscribed by the criminal sodomy laws of the
State of Alabama. "[S]Juch utterances are no essential

part of any exposition of ideas, and are of such slight
social value as a step to truth that any benefit that may
be derived from them is clearly outweighed by the social

interest in order and morality." Chaplinsky v. New

 

Hampshire, 315 U.S. 568, 62 S.Ct. 766, 86 L.Ed. 1031 (1942).
It must again be emphasized that what we have here is
not a blanket prohibition of speech and assembly, but

rather a prohibition directed at any person or group who,

~5S7-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 71 of 94

aided by the support of public funds and the use of public
facilities, would use public funds and the availability of
public facilities to advocate, promote, and abet conduct
which the public, by and through its duly-elected
legislature, has declared to be unlawful. Clearly, the
enactment by the Alabama legislature of §16-1-28 is not
wholly unreasonable.

Such a conclusion is clearly supported by the language
of the holding of the Supreme Court of the United States in

R.A.V. v. St. Paul:

 

"The concurrences describe us
as setting forth a new First
Amendment principle that
prohibition of constitutionally
proscribable speech cannot be
‘under-inclusiv[e],' post, at

120 L.Ed.2d, at 330 (White,
Jr., concurring in judgment) -- a
First Amendment 'absolutism'
whereby 'within a particular
"proscribable' category of
expression, . . . a government
must either proscribe all speech
or no speech at all,' post, at

, 120 L.Ed.2d, at 341
(Stevens, J., concurring in
judgment). That easy target is of
the concurrences' own invention.
In our view, the First Amendment
imposes not an
‘under-inclusiveness' limitation
but a ‘content discrimination'
limitation upon a State's
prohibition of proscribable
speech. There is no problem
whatever, for example, with a
State's prohibiting obscenity (and
other forms of proscribable

 

-58-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 72 of 94

expression) only in certain media
or markets, for although that
prohibition would be
‘under-inclusive,' it would not
discriminate on the basis of
content. [citations omitted]

“Even the prohibition against
content discrimination that we
assert the First Amendment
requires is not absolute. It
applies differently in the context
of proscribable speech than in the
area of fully protected speech.
The rationale of the general
prohibition, after all, is that
content discrimination
‘rais[es] the specter that the
Government may effectively drive
certain ideas or viewpoints from
the marketplace,' Simon &
Schuster, 502 U.S., at , 116
L.Ed.2d 476, 112 §.Ct. 501;
Leathers v. Medlock, 499 U.S.

, , 113 L.Ed.2d 494, 111
S.Ct. 1438 (1991); FCC v. League
of Women Voters of California, 468
U.S. 364, 383-384, 82 L.Ed.2d 278,
104 §.ct. 3106 (1984);
Consolidated Edison Co., 447 U.S.,
at 536, 65 L.Ed.2d 319, 100 S.Ct.
2326; Police Dept. of Chicago v.
Mosley, 408 U.S. at 95-98, 33
L.Ed,2d 212, 92 S.Ct. 2286. But
content discrimination among
various instances of a class of
proscribable speech often does not
pose this threat.

 

 

 

"When the basis for the
content discrimination consists
entirely of the very reason the
entire class of speech at issue is
proscribable, no siqnificant
danger or idea of viewpoint
discrimination exists. Such a
reason, having been adjudged
neutral enought to support
exclusion of the entire class of

 

 

 

 

 

 

-59-
a

Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 73 of 94

speech from First Amendment
protection, is also neutral enough
to form the basis of distinction
within the class. To illustrate:
A State might choose to prohibit
only that obscenity which is the
most patently offense in its
prurience -- i.e., that which
involves the most lascivious
displays of sexual activity. But
it may not prohibit, for example,
only that obscenity which includes
offensive political messages. See
Kucharek v. Hanaway, 902 F.2d 513,
517 (CA7 1990), cert. denied, 498
U.S. , 112 L.Ed.2d 702, 111
§.Ct. 713 (1991). And the Federal
Government can criminalize only
those threats of violence that are
directed against the President,
see 18 USC §871 [18 USCS

§871] -- since the reasons why
threats of violence are outside
the First Amendment (protecting
individuals from the fear of
violence, from the disruption that
fear engenders, and from the
possibility that the threatened
violence will occur) have special
force when applied to the person
of the President. See Watts v.
United States, 394 U.S. 705, 707,
22 L.Ed.2d 664, 89 S.Ct. 1399
{1979) {upholding the facial
validity of §871 because of the
‘overwhelminf{g] interest in
protecting the safety of [the]
Chief Executive and in allowing
him to perform his duties without
interference from threats of
physical violence'). But the
Federal Government may not
criminalize only those threats
against the President that mention
his policy on aid to inner

cities. And to take a final
example (one mentioned by Justice
Stevens, post, at __ ’
120 L.Ed.2d, at 343), a State may

 

 

 

-60-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 74 of 94

choose to regulate price
advertising in one industry but
not in others, because the risk of
fraud (one of the characteristics
of commercial speech that
justifies depriving it of full
First Amendment protection, see
Virginia Pharmacy Bd. v. Virginia
Citizens Consumer Council, Inc.,
425 U.S. 748, 771-772, 48 L.Ed.2d
346, 96 S.Ct. 1817 (1976)) is in
its view greater there. Cf.
Morales v. Trans World Airlines,
Inc., 504 U.S. , 119 L.Ed.2d
157, 112 §.Ct. (1992) (state
regulation of airline
advertising); Ohralik v. Ohio
State Bar Assn., 436 U.S. 447, 56
L.Ed.2d 444, 98 §.Ct. 1912 (1978)
(state regulation of lawyer
advertising). But a State may not
prohibit only that commercial
advertising that depicts men ina
demeaning fashion, see, e.qg., L.
A. Times, August 8, 1989, section
4, p 6, col l.

 

 

 

"Another valid basis for
according differential treatment
to even a content-defined subclass
of proscribable speech is that the
subclass happens to be associated
with particular ‘secondary
effects' of the speech, so that
the regulation is ‘justified
without reference to the content
of the .. . speech,’ Renton v.
Playtime Theatres, Inc., 475 U.S.
41, 48, 89 L.Ed.2d 29, 106 §.Ct.
925 (1986) (quoting, with
emphasis, Virginia Pharmacy Bd.,
supra, at 771, 48 L.Ed.2d 346, 96
S.Ct. 1817); see also Young v.
American Mini Theatres, Inc., 427
U.S. 50, 71, n. 34, 49 L.Ed.2d
310, 96 S.Ct. 2440 (1976)
(plurality); id., at 80-82, 49
L.Ed.2d 310, 96 S.Ct. 2440
(Powell, J., concurring); Barnes,

 

 

-6l-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 75 of 94

501 U.S., at __ , 115
L.Ed.2d 504, 111 S.Ct. 245
(Souter, J., concurring in
judgment). A State could, for
example, permit all obscene live
performances except those
involving minors. Moreover, since
words can in some circumstances
violate laws directed not against
speech but against conduct (a law
against treason, for example, is
violated by telling the enemy the
nation's defense secrets), a
particular content-based
subcategory of a proscribable
class of speech can be swept up
incidentally within the reach of a
statute directed at conduct rather

than speech. See id., at '
115 L.Ed.2d 504, 111 §.Ct. 2456

 

 

 

 

 

 

 

 

(plurality); id., at __ '
115 L.Ed.2d 504, 111 S.Ct. 2456
(Scalia, J., , 115

 

L.Ed.2d 504, 111 S.Ct. 2456
(Souter, J., concurring in
judgment); FTC v. Superior Court
Trial Lawyers Assn., 493 U.S. 411,
425-432, 107 L.Ed.2d 851, 110
S.Ct. 768 (1990); O'Brien, 391
U.S., at 376-377, 20 L.Ed.2d 672,
88 S.Ct. 1673. Thus, for example,
sexually derogatory 'fighting
words,' among other words, may
produce a violation of Title VII's
general prohibition against sexual
discrimination in employment
practices, 42 USC §2000e-2 [42
USCS §2000e-2]; 29 CFR

§1604.11 (1991). See also 18

USC §242 [18 USCS §242];

42 USC §§ 1981, 1982 [42

uscs §§ 1981, 1982]. Where

the government does not target
conduct on the basis of its
expressive content, acts are not
shielded from regulation merely
because they express a
discriminatory idea or philosophy.

 

 

-6§2-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 76 of 94

{4b, 15] These bases for
distinction refute the proposition
that the selectivity of the
restriction is 'even arguably
‘conditioned upon the sovereign's
agreement with what a speaker may
intend to say.'' Metromedia, Inc.
v. San Diego, 453 U.S. 490, 555,
69 L.Ed.2d 800, 101 S.Ct. 2882
(1981) (Stevens, J., dissenting in
part( (citation omitted). There
may be other such bases as well.
Indeed, to validate such
selectivity (where totally
proscribable speech is at issue)
it may not even be necessary to
identify any particular 'neutral'
basis, so long as the nature of
the content discrimination is such
that there is no realistic
possibility that official
suppression of ideas is afoot.

(We cannot think of any First
Amendment interest that would
stand in the way of a State's
prohibiting only those obscene
motion pictures with blue-eyed
actresses.) Save for the
limitation, the regulation of
'fighting words,' like the
regulation of noisy speech, may
address some offensive instances
and leave other, equally
offensive, instances alone. See
Posadas de Puerto Rico, 478 U.S.,
at 342-343, 92 L.Ed.2d 266, 106
S.Ct. 2968." (footnote omitted;
emphasis supplied)

 

120 L.Ed.2d 305, 320-322 (1992).

Although the statue at issue in this caSe, a city
ordinance banning display of symbols, such as a burning
cross, that arouse anger in others on the basis of race,

color, creed, religion or gender was held to be invalid, we

-63-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 77 of 94

respectfully submit that the above-quoted language is

authoritatively instructive in the matter at bar.

-§4-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 78 of 94

V. THE STATUTE IN QUESTION IS A REASONABLE
REGULATION PROMULGATED BY THE STATE OF ALABAMA
UNDER ITS POLICE POWER FOR THE PROTECTION OF THE
PUBLIC HEALTH, SAFETY, AND MORALS.

 

 

A. §16-1-28, Code of Alabama 1975, is Not
Overbroad and Does Not Bar a Broad Range of
Speech at a Particular Location or Under a
Particular Circumstance.

 

The proposition is well understood that since the
purpose of the freedoms of speech and assembly is to
encourage the free flow of ideas, a regulation is most
often not upheld if it is "overbroad," that is, if it
prohibits substantially more speech than is necessary.
Thus, if a regulation bans a broad range of speech at a
particular location or under a particular circumstance, it
may be held invalid for overbreadth. See, e.g., Houston v.
Hill, 482 U.S. 451 (1987); Board of Airport Commissioners

v. Jews for Jesus, 482 U.S. 569 (1987); Martin v. City of

 

Struthers, 319 U.S. 141 (1943); Lewis v. City of New

 

Orleans, 415 U.S. 130 (1974); NAACP v. Alabama, 377 U.S.

288 (1964); Terminiello v. City of Chicago, 337 U.S.

 

(1949); and Schaumburg v. Citizens for a Better

 

Environment, 444 U.S. 620 (1980).

We respectfully submit that §16-1-28 is not
overbroad, does not bar a broad range of speech at a
particular location or under a particular circumstance, and

it can therefore be reconciled with the above-referenced

-65-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 79 of 94

authorities. The only category of speech which the statute
seeks to bar is that which fosters, promotes, or encourages
the commission of criminal sexual offenses. Thus, it
cannot be said here that the government is targeting
conduct on the basis of expressive content because the acts
themselves (i.e., sodomy) are not shielded from

regulation. Therefore, members of the GLBA, in order to
continue to receive official recognition, funding, and a
forum on school property, need only refrain from engaging
in one narrow category of unprotected speech: speech which
fosters, promotes, or encourages the commission of a
criminal sexual offense. All other protected speech is

clearly and unequivocally permissible under the statute.

B. §16-1-28, Code of Alabama 1975, is Not Void for
Vaqueness Because it Gives Reasonable Notice as
to What is Prohibited and is Clear as to What
Speech is Prohibited.

 

 

 

 

of course, if a law fails to give persons reasonable
notice as to what is prohibited, it is said to violate
substantive due process. This principle is often applied
strictly when first amendment activity is involved to avoid
the "chilling effect" a vague law might have on speech.
That is, if it is unclear what speech is regulated, people
might refrain from speech that is permissible for fear that

they will be violating the law. See, e.g., Papachristou v.

 

-66-
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Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 80 of 94

City of Jacksonville, 405 U.S. 156 (1972); Gentile v. State

 

Bar, 111 8.Ct. 2770 (1991}; and NAACP v. Burton, 371 U.S.
415 (1963).

For the reasons set forth immediately hereinabove, we
respectfully submit that §16-1-28 gives reasonable notice
as to what is prohibited and it is clear as to what speech
is prohibited. It has thus been drawn with "narrow

specificity" and is not void for vagueness.

Cc. §16-1-28, Code of Alabama 1975, Does Not Give
State Officials Broad and Unfettered Discretion
for Applying the Law and Contains Defined, Fixed,
and Ascertainable Standards for It's Application.

 

 

It is axiomatic that a regulation cannot give
officials broad discretion over speech issues; there must
be defined standards for applying the law. The fear, of
course, is that the officials will use their discretionary
power to prohibit dissemination of ideas that they do not

agree with. See, @.q., Forsyth County, Georgia v.

 

Nationalist Movement, 112 S.Ct. 2395 (1992); Lovell v. City

 

of Griffin, 303 U.S. 444 (1938); Shuttlesworth v.

Birmingham, 394 U.S. 147 (1969); City of Lakewood v. Plain

 

Dealer Publishing Co., 486 U.S. 750 (1988); and Saia v. New

 

York, 334 U.S. 558 (1948).
We respectfully submit that §16-1-28 is not

repugnant to First Amendment principles or the

-67-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 81 of 94

above-referenced authorities because it does not give state
officials broad and unfeltered discretion for its
application, and because it contains defined, fixed, and
ascertainable standards for its application. By its very
language the statute only applies to organizations or
groups which promote sodomy and homosexual misconduct. And
certainly no reasonable person would contend that a group
which goes by the name of the "Gay Lesbian Bisexual
Alliance" might not put a reasonable public official on
notice that the group has the potential to promote sodomy
and homosexual misconduct, and that the official should
therefore take steps to ascertain the scope of the group’s
activities. If the GLBA refrains from committing any of
the acts enumerated in the statute, then the statute does

not even apply.

-§8-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 82 of 94

VI. NOT ALL REGULATION OF SYMBOLIC CONDUCT WHICH IS
UNDERTAKEN AS PART OF VERBAL COMMUNICATION, SUCH
AS THAT PROSCRIBED BY THE STATUTE IN QUESTION, IS
PROHIBITED BY THE UNITED STATES CONSTITUTION.
Speech includes not only verbal communication, but
also conduct that is undertaken to communicate an idea. of
course, not all regulation of symbolic conduct is
prohibited. United States v. O'Brien, supra. Accord,
Barnes v. Glen Theatres, Inc., 111 §.Ct. 2456 (1991); Wayte
v. United States, 470 U.S. 598 (1985}; and Clark v.
Community for Creative Nonviolence, 486 U.S. 288 (1984).
Again, the O'Brien Court set out a four-part test for
determining when a government interest sufficiently
justifies the regulation of expressive conduct: a
governmental regulation is sufficiently justified (1) if it
is within the constitutional power of the government; (2)
if it furthers an important or substantial governmental
interest; (3) if the governmental interest is unrelated to
the suppression of free expression; and (4) if the
incidental restriction on alleged First Amendment freedoms
is no greater than is essential to the furtherance of that
interest. O'Brien, Supra, 391 U.S. at 377, 88 S.Ct. at
1679.
For the same reasons as those set forth hereinabove at

Argument IV, we respectfully submit that the State of

-69-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 83 of 94

Alabama may constitutionally regulate the conduct of the

GLBA on the campus of the University of South Alabama.

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Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 84 of 94

VII. THE STATUTE IN QUESTION DOES NOT CONSTITUTE A
PRIOR RESTRAINT; HOWEVER, IN THE ALTERNATIVE, IF
THE COURT DOES SO CONSTRUE THE STATUTE, THEN IT
CAN STILL SUSTAIN THE STATUTE BECAUSE IT IS
NARROWLY TAILORED TO ACHIEVE A COMPELLING AND
SIGNIFICANT GOVERNMENTAL INTEREST.

 

 

 

 

 

 

A "prior restraint" is said to be any governmental
action that would prevent a communication from reaching the
public. Prior restraints, of course, are not favored in
our political system as the Supreme Court has indicated
that it would rather allow speech and then punish it if it
is unprotected. However, the Court has expressed a
willingness to uphold prior restraints if some special harm
would otherwise result. See generally, e.q., Near v.
Minnesota, 283 U.S. 697, 51 8.Ct. 625, 75 L.Ed. 1357
(1931); New York Times v. United States, 403 U.S. 713, 91

§.Ct. 2140, 29 L.Ed.2d 822 (1971); Organization for a

 

Better Austin v. Keefe, 402 U.S. 415, 91 §.ct. 1575, 29

 

L.Ed.2d 1 (1971); Bantam Books v. Sullivan, 372 U.S. 58, 83

 

§.ct. 631, 9 L.Ed.2d 584 (1963).

Our position, which we hereby reserve, is that
§16-1-28, Code of Alabama 1975, as amended, does not
constitute a prior restraint. However, in the alternative,
if the Court does so construe the statute as a prior
restraint, then it can still sustain the statute because it
is narrowly tailored to achieve a compelling and

Significant government interest.

-7Jl-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 85 of 94

The Plaintiff does not seem to realize that current
events have outstripped efforts to prevent sodomy with
criminal proscriptions alone. The chief difficulty lies in
the fact that gays and lesbians, by their very
definition,** engage in homosexual conduct which is
prohibited by law. The failure of the Plaintiff to make
the slightest endeavor to address this fact should be
highly objectionable to this Honorable Court, and it is
certainly objectionable to this writer.

The State of Alabama, under its police powers clearly
has an interest, and a very compelling one at that, in the
prevention of sexually transmitted and other communicable
diseases which are undeniably associated not only with
homosexual misconduct, but also with heterosexual
misconduct ({i.e., prostitution). This governmental
interest, along with the interests of the State in

promoting marriage and fostering the procreation of

 

**Gay ("homosexual"); lesbianism ("homosexual
relations between women"), The Random House College
Dictionary at 547, 768 (Rev.Ed. 1980); gay ("a
homosexual"); lesbian ("a woman who is a homosexual"), The
American Heritage Dictionary, at 551, 724 (2nd College Ed.
1985); gay ("attracted to the same sex, homosexual,
homophile, lesbian"); lesbian ("a female who is attracted
to other females, 'butch,' 'dyke,' 'sapphist'"), West's
Legal Thesaurus/Dictionary at 346, 454 (lst Ed. 1985).

 

~7F2-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 86 of 94

children, discussed infra, are certainly compelling enough

reasons for this Honorable Court to sustain the statute.

-73-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 87 of 94

VIII. THE STATUTE IN QUESTION DOES NOT CONSTITUTE AN
INFRINGEMENT UPON FREEDOM OF ASSOCIATION AND
BELIEF; HOWEVER, IN THE ALTERNATIVE, IF THE COURT
DOES SO CONSTRUE THE STATUTE, THEN IT CAN STILL
SUSTAIN THE STATUTE AS SERVING A COMPELLING STATE
INTEREST BECAUSE THE RIGHT TO ASSOCIATE FOR
EXPRESSIVE PURPOSES IS NOT ABSOLUTE UNDER THE
UNITED STATES CONSTITUTION.

 

Although the First Amendment does not explicitly
mention a right of freedom of association, it is the
settled jurisprudence of the Supreme Court of the United
States that the right to join together with other persons
for expressive or political activity is protected by the
First Amendment. However, the right to associate for
expressive purposes is not absolute. Infringements on the
right may be justified by compelling state interests,
unrelated to the suppression of ideas, that cannot be
achieved through means significantly less restrictive of
associational freedoms. See generally, New York State Club

Association, Inc. v. New York City, 487 U.S. 1 (1988);

 

Board of Directors of Rotary Club International v. Rotary

Club of Duarte, 481 U.S. 537 (1987); Roberts v. United

 

States Jaycees, 468 U.S. 609 (1984); and Dallas v.
Stranglin, 490 U.S. 19 (1989).

Our position, which we hereby reserve, is that
§16-1-8, Code of Alabama 1975, as amended, does not
constitute an infringement upon the freedom of association

and belief. However, in the alternative, if the Court does

~7Fd4-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 88 of 94

50 construe the statute then the statute can still be
Sustained because the right to associate for expressive
Purposes is not absolute under the United State
Constitution and the statute serves a compelling state
interest. Indeed, "'[e]ven protected speech is not
equally permissible in all places and at all times." Calash
v. City of Bridgeport, 788 F.2d 80, 82 (2d Cir. 1986),
quoting Cornelius v. NAACP Legal Defense and Education
Fund, 473 U.S. 788, 105 §.Ct. 3439, 3448, 87 L.Ed.2d 567
(1985).

The compelling interests advanced by the State of
Alabama to support enactment of the statute in question

have been fully discussed, infra.

-75-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 89 of 94

IX. DEFENDANTS' RESPONSE TO AUTHORITIES CITED IN TEXT
OF PLAINTIFF'S BRIEF ON THE MERITS.

This brief is intended to serve as the Defendants'

brief on the merits to advance the substantive legal

grounds upon which this Honorable Court may sustain the

constitutionality of the statute in question. Therefore,

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the sake of brevity here, the Defendants will address
cases cited in the Plaintiff's brief on the merits at
oral argument({s) of this cause on June 17, 1994, or, to

extent allowed by the Court, in a supplemental brief if

necessary.

-76-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 90 of 94

CONCLUSION

With all due respect, the Defendants wish to again
emphasize their equitable prayer that this Honorable Court
not be impervious to the self-serving factual and
procedural summary which has been advanced by the Plaintiff
in its Brief on the Merits. That portion of their brief is
self-opinionated and rigidly adheres to preconceived
ideas. It pours out meaningless veiled declarations and
prevarications of the history of the GLBA at USA in
unbelievable numbers, of formidable length, and repeating
over and over the same ill-founded views and ideas.

The Defendants reciprocate with the Plaintiff's desire
for improved relations with the student body and the
ability to conduct lawful activities as a recognized
student group upon the campus of the University of South
Alabama, but, however, they cannot sacrifice the
constitutionality recognized interests of the People of
Alabama in order to obtain those goals. As more fully set
forth hereinabove, those interests include the prevention
of homosexual criminal misconduct, the promotion of legal
marriage, and the fostering of the procreation of children.

This entire matter of lengthy and protracted
litigation could be avoided if the members of the GLBA

would make a simple, good-faith pledge to the

-7T7-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 91 of 94

administration of the University of South Alabama: "We
shall refrain, when receiving public funds and meeting in
public facilities, from promoting violations of Alabama's
criminal sodomy and sexual misconduct laws, and we shall
refrain from encouraging individuals to engage in such
criminal acts and refrain from providing information or
materials that explain how such acts may be committed."
Such a pledge would in no wise require the members cf the
GLBA to surrender one constitutional right (ostensibly
sodomy in the view of the ACLU) in order to assert another
(the right of free speech) because, as more fully set forth
hereinabove, sodomy and sexual misconduct are not
activities that fall within the protection of the First
Amendment.

Displaying a customary ignorance of Alabama's
political affairs, the counsel for Plaintiffs have
attempted to distort the underlying facts to this
litigation in an effort to inflame the passions of this
Honorable Court. Again, the record is utterly devoid of
any evidence whatsoever that an atmosphere of "homophobia"
exists on the campus of the University of South Alabama, or
in the halls of the legislative and executive branches of
state government. Again, we respectfully submit that the
statute in question is simply a viewpoint neutral means for

ensuring that government funds and government facilities

-7§-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 92 of 94

are used only for the purposes for which they were granted,
and it is not unreasonable for the State of Alabama to
enact legislation to accomplish this constitutionally
recognized public goal. We also submit that the statute in
question clearly seeks to regulate conduct which is
incidental to speech, and that it constitutes a reasonable
regulation promulgated by the State of Alabama under its
police powers for the protection of the public health,
safety, morals, and the promotion of the public convenience.

Based on all of the foregoing, this Honorable Court
should have no difficulty in holding as a matter of law
that §16-1-28, Code of Alabama 1975, is a permissible
legislative enactment under the police powers of the State
and that it is not repugnant or violative of the

Constitution of the United States.

Respectfully submitted this (4/% aay of May, 1994.

 

 

 
   

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-79-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 93 of 94

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-80-
Case 2:93-cv-01178-MHT-CSC Document 36 Filed 05/24/94 Page 94 of 94

and thus is a "homosexual," and since homosexual conduct is
not a fundamental right and it may constitutionally be
classified as criminal misconduct, why is the Plaintiff
attempting to put its members "above the law" by trying to
convince this Honorable Court that they should somehow be
immune from the enforcement of an inchoate statute which is

corollary to the criminal sodomy statutes?

-44-
